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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

BRIANNA BOE, et al.,                  )
                                      )
        Plaintiffs,                   )
                                      )
and                                   )
                                      )      Case No.: 2:22-cv-00184-LCB
UNITED STATES OF AMERICA,             )
                                      )
       Plaintiff-Intervenor,          )
                                      )
v.                                    )
                                      )
STEVE MARSHALL, in his official
                                      )
capacity as Attorney General of the
                                      )
State of Alabama, et al.,
                                      )
                                      )
        Defendants.
                                      )


         KATHLEEN HARTNETT’S RESPONSE TO THE COURT’S
             SUPPLEMENTAL ORDER TO SHOW CAUSE
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      Respondent Kathleen Hartnett responds to the Court’s May 1, 2024

Supplemental Order to Show Cause and states as follows:

                                INTRODUCTION

      Kathleen is one of the Walker counsel. Throughout her involvement in that

case, Kathleen acted in good faith, followed governing rules and ethical standards,

and pursued her clients’ best interests. She has testified honestly and completely in

her declarations and live testimony before the Panel and this Court. Because she did

not engage in sanctionable conduct, she respectfully requests that the Court dismiss

her from this proceeding without sanction.

      This brief discusses each of the applicable findings in the Panel’s Report of

Inquiry (the “Report”) issued in In Re: Amie Adelia Vague, et al., No. 2:22-mc-3977-

WKW (M.D. Al.) (“Vague”) and the charges set forth in this Court’s Supplemental

Order to Show Cause (“Show Cause”). At the outset, Kathleen respectfully

highlights a few key overarching considerations:

      First, no evidence from the numerous hours of testimony and pages of

declarations indicates that anyone—much less Kathleen—was involved in a

coordinated scheme to file two cases in an attempt to increase the chances of drawing

a particular judge. Rather, the two teams—Walker and Ladinsky—were competing

to be the first-filed case. And, once the cases were filed, there was minimal

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coordination between the teams until such coordination became unavoidable. For

her part, Kathleen never interacted with anyone on the Ladinsky team about these

cases until Friday, April 15—the date Walker was dismissed.

      Second, Kathleen was counsel in Walker only. She did not participate in the

refiling of the Eknes-Tucker case. Her involvement in this matter ended with the

Rule 41 dismissal in Walker on Friday, April 15, 2022, and the Walker team’s

decision that weekend not to refile.

      Third, the “misconduct” listed in the Report is principally “collective,” and

nearly all of it does not involve conduct personal to Kathleen. For instance, the

Report and, by extension, the Show Cause address a number of discussions and

phone calls—a call to Judge Thompson’s chambers; calls between the Walker and

Ladinsky teams involving wide-ranging discussions of judges and their philosophies;

and a discussion that purportedly included a comment about the parties having a

“zero percent chance” of success in front of Judge Burke. Kathleen was not involved

in any of those calls and discussions. The only actions described as “misconduct”

involving Kathleen were marking Walker as a related case to Corbitt and voluntarily

dismissing Walker without prejudice. As described below, these actions do not

support a sanction against Kathleen.




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      Finally, Kathleen requests that the Court consider the Panel’s real-time

comments about Kathleen during her testimony, as opposed to the Final Report’s

conclusions of collective misconduct. During her testimony, the Panel repeatedly

praised Kathleen and her candor:

             JUDGE PROCTOR: One of the things I was impressed with with
      your declaration is its clarity, its organization, and its candor. So I want
      to give you that compliment as we stand here. Aug. 3, 2022 Hrg. Trans.
      at 22:12–14.
            JUDGE PROCTOR: I think you’ve given me a good picture of
      what you’re thinking and what your motivations were and what your
      decisions were. Id. at 42:12–14.

             JUDGE PROCTOR: I really appreciate the way you’re tackling
      this, and I just want to affirm that as we’re going along. Id. at 79:25–
      26.

              JUDGE PROCTOR: I thank you for the way you’ve approached
      this. Id. at 89:17.

      Throughout this process, Kathleen has been truthful and forthcoming. The

Panel’s statements indicate that, in real time, they agreed.

      Kathleen’s testimony also is corroborated by the testimony of each of the other

Respondents on all the material issues. Notably, much of that testimony was taken

when all Respondents were sequestered and therefore could not—and did not—

communicate about their testimony. Such consistency is the hallmark of truthfulness

in any judicial inquiry and should be given extraordinary weight as this Court

considers whether Kathleen acted in good faith.
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        Kathleen regrets that her actions created an appearance of impropriety and

judge shopping and appreciates this opportunity to address the Court. Because she

did not engage in any sanctionable conduct and at all times acted in good faith, she

respectfully requests dismissal of the charges.

                          STANDARDS OF CONDUCT

I.      The Court May Sanction Under Its Inherent Authority Only Upon a
        Finding of Subjective Bad Faith.

        The Court’s “inherent power should be exercised with caution and its

invocation requires a finding of bad faith.” Kornhauser v. Comm’r of Soc. Sec., 685

F.3d 1254, 1257 (11th Cir. 2012); see Purchasing Power, LLC v. Bluestem Brands,

Inc., 851 F.3d 1218, 1223 (11th Cir. 2017) (requiring a finding of subjective bad faith

for sanctions under the Court’s inherent authority). “[I]n the absence of direct

evidence of subjective bad faith, this standard can be met if an attorney’s conduct is

so egregious that it could only be committed in bad faith.” Id. at 1224–25.

Recklessness alone will not suffice. Rather, to be sanctionable, an attorney’s reckless

conduct must be paired with a frivolous argument or an intention to harass. Id. at

1225.

        In “exercising its inherent power to impose sanctions, a court must ‘comply

with the mandates of due process, both in determining that the requisite bad faith

exists and in assessing fees.’” Kornhauser, 685 F.3d at 1257 (quoting Chambers v.
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NASCO, Inc., 501 U.S. 32, 50 (1991)). For there to be due process, “the attorney

must, first, be afforded ‘fair notice that [his or her] conduct may warrant sanctions

and the reasons why,’ and, second, ‘be given an opportunity to respond, orally or in

writing, to the invocation of such sanctions and to justify [his or her] actions.’” Id.

(quoting In re Mroz, 65 F.3d 1567, 1575–76 (11th Cir. 1995)).1

       While the Eleventh Circuit has not clearly adopted an evidentiary standard for

sanctions pursuant to the Court’s “inherent authority,” at least three Circuits require

clear and convincing evidence of bad faith before imposing such sanctions. See

Mazzei v. Money Store, 2023 WL 6784415, at *4 (2d Cir. Oct. 13, 2023); In re Moore,

739 F.3d 724, 730 (5th Cir. 2014); Ali v. Tolbert, 636 F.3d 622, 627 (D.C. Cir. 2011);

cf. In re: Little Rest Twelve, Inc., 662 F. App’x 887, 889 (11th Cir. 2016) (requiring

“specific findings”); but see Ramirez v. T&H Lemont, Inc., 845 F.3d 772, 777 (7th

Cir. 2016). And in an unpublished decision, the Eleventh Circuit has reviewed

sanctions imposed under a district court’s “inherent powers” for “clear and

convincing evidence.” JTR Enterprises, LLC v. Columbian Emeralds, 697 F. App’x

976, 978, 986–87 (11th Cir. June 23, 2017). Many district courts in the Eleventh

Circuit have also applied a clear and convincing evidence standard. See e.g., JTR




1
  Kathleen incorporates Doc. 508, which preserves objections to the process utilized in this
proceeding.
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Enterprises, LLC v. An Unknown Quantity, 2014 WL 12503330, at *9 (S.D. Fla. June

19, 2014); Barash v. Kates, 585 F. Supp. 2d 1347, 1365 (S.D. Fla. 2006); Cuyler v.

Kroger Co., 2015 WL 12602441, at *11 (N.D. Ga. Dec. 31, 2015), report and

recommendation adopted, 2016 WL 6095223 (N.D. Ga. Feb. 4, 2016). This Court

applied a clear and convincing evidence standard when imposing sanctions last year.

Fletcher v. Ben Crump L., PLLC, 2023 WL 3095571, at *5 (N.D. Ala. Apr. 26, 2023).

      Additionally, in considering whether to impose a sanction, the Court must

assess each attorney individually, including with respect to a determination of bad

faith. “[C]ourts levying sanctions [must] assess an attorney’s individual conduct and

[must] make an explicit finding that he or she acted in bad faith.” Primus Auto. Fin.

Servs., Inc. v. Batarse, 115 F.3d 644, 650 (9th Cir. 1997); see also JTR Enters., 697

F. App’x at 987 (“Bad faith is personal to the offender. One person’s bad faith may

not be attributed to another by operation of legal fictions or doctrines such as

respondeat superior or vicarious liability.”) (quoting Gregory P. Joseph, Sanctions:

The Federal Law of Litigation Abuse § 27 (4th ed. 2012)). In other words, Kathleen’s

conduct must be addressed individually, not collectively. Cf. Vague, Doc. 70 at 51

(making findings of misconduct against “counsel” on an admittedly “collective”

basis). Kathleen cannot be sanctioned for another person’s conduct.




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II.     Sua Sponte Sanctions Under Rule 11 Also Require a Heightened Showing
        “Akin To Contempt.”

        Rule 11 applies to “pleading[s], written motion[s], or other paper[s].” Fed. R.

Civ. P. 11. In this proceeding, the only two papers at issue are the Walker Civil Cover

Sheet and the Rule 41 dismissal. Case law is mixed on whether Rule 11 applies to

civil covers sheets. See Morse v. Am. Sec. Ins. Co., 2011 WL 332544, at *2 (S.D.

Tex. Jan. 28, 2011) (“The civil cover sheet is not a pleading and does not contain the

certifications required by Rule 11.”); Blackburn v. Lubbock FBI, 2023 WL 6139457,

at *3 (N.D. Tex. Aug. 23, 2023); Afzaal v. Upper Iowa Univ., 2018 WL 7138388, at

*3 (E.D. Tex. Dec. 21, 2018); Llort v. BMW of N. Am., LLC, 2020 WL 2928472, at

*4 (W.D. Tex. June 2, 2020); but see Cellar Door Prods., Inc. of Michigan v. Kay,

897 F.2d 1375, 1379 (6th Cir. 1990) (affirming sanctions for failure to identify a

related case on the civil docket sheet). The undersigned counsel has not found any

case applying Rule 11 to a Rule 41 voluntary dismissal. Regardless, Kathleen will

address Rule 11 below as if it applies, without conceding that it in fact applies, to

the Civil Cover Sheet and the Rule 41 dismissal.

        The State of Alabama did not file a Rule 11 sanctions motion. Thus, the Show

Cause is sua sponte. Sua sponte Rule 11 sanctions are subject to a heightened

standard, which the Eleventh Circuit has described as “akin to contempt.” Kaplan v.

DaimlerChrysler, A.G., 331 F.3d 1251, 1255 (11th Cir. 2003). Although the Eleventh
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Circuit has not elaborated on the meaning of “akin to contempt,” district courts have

held that negligence or ignorance of the law is not sufficient. See Iparametrics, LLC

v. Meier, 2012 WL 12896231, at *4 (N.D. Ga. Oct. 30, 2012, affd sub nom.

iParametrics, LLC v. Howe, 522 F. App’x 737 (11th Cir. 2013); Hodge v. Orlando

Utilities Comm’n, 2010 WL 376019, at *5 (M.D. Fla. Jan. 25, 2010). To the contrary,

only egregious conduct such as “making a knowingly false statement or exhibiting

a deliberate indifference to obvious facts is akin to contempt.” See Hodge, 2010 WL

376019, at *5; accord Iparametrics, 2012 WL 12896231, at *4.

      Additionally, although the Eleventh Circuit has not reached the question, the

Second Circuit has required subjective bad faith to satisfy the “akin to contempt”

standard. See Kaplan, 331 F.3d at 1255.; In re Off. of Alabama Att’y Gen., 2023 WL

129438, at *3 (11th Cir. Jan. 9, 2023) (declining to adopt a mens rea standard); In re

Pennie & Edmonds LLP, 323 F.3d 86, 87 (2d Cir. 2003) (requiring subjective bad

faith); but see Wharton v. Superintendent Graterford SCI, 2024 WL 998036, at *4

(3d Cir. Mar. 8, 2024); Jenkins v. Methodist Hosps. of Dallas, Inc., 478 F.3d 255,

264 (5th Cir. 2007); In re Engle Cases, 283 F. Supp. 3d 1174, 1214 (M.D. Fla. 2017)

(finding that subjective bad faith is not required).

      Regardless, contempt is subject to a clear and convincing standard of proof.

Howard Johnson Co. v. Khimani, 892 F.2d 1512, 1516 (11th Cir. 1990); Rankin v.

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City of Niagara Falls, 293 F.R.D. 375, 387 (W.D.N.Y. 2013), aff’d sub nom. Rankin

v. City of Niagara Falls, Dep’t of Pub. Works, 569 F. App’x 25 (2d Cir. 2014). This

“more exacting” clear and convincing evidence standard for contempt, Jove Eng’g,

Inc. v. I.R.S., 92 F.3d 1539, 1545 (11th Cir. 1996), is consistent with the requirement

that sua sponte Rule 11 sanctions “must be reviewed with ‘particular stringency.’”

Kaplan, 331 F.3d at 1255.

III.     “Judge Shopping” is not a Specifically-Defined Term That, by Itself,
         Provides a Standard of Conduct For Attorneys to Follow.

         As other Respondents have explained, “[T]here is no ‘federal law prohibiting

judge shopping.’ Instead, there is a patchwork of local and federal rules and court

decisions that restrict or prohibit particular conduct that can be rightfully

characterized as ‘judge shopping.’ In reality, the term ‘judge shopping’ has no

established or universally recognized definition.” Doc. 493 at 12.

         In its “judge-shopping” section, the Show Cause cites to In re BellSouth Corp,

which said, “a contrivance to interfere with the judicial assignment process

constitutes a threat to the orderly administration of justice.” 334 F.3d 941, 959 (11th

Cir. 2003). BellSouth involved a party hiring Judge U.W. Clemon’s nephew in an

attempt to get Judge Clemon to recuse. The court found that hiring an attorney for

the purpose of recusing a judge was “a contrivance” and an “attempt to manipulate

the random assignment process.” Id. 959–60. BellSouth does not define contrivance,
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and both BellSouth and the Fifth Circuit case it cites related to “contrivance[s]”

involving attorneys agreeing to representation for the purpose of recusing a judge.

See BellSouth, 334 F.3d at 949 (quoting McCuin v. Texas Power & Light Co., 714

F.2d 1255, 1264 (5th Cir. 1983)). Additionally and also unlike here, the Northern

District of Alabama had a Standing Order addressing the appearance of counsel that

could lead to recusal, and the Court had a history of cases involving the same lawyer

appearing in Judge Clemon’s cases.

IV.     Rule 83(b) Requires Actual Notice of Provisions Allegedly Violated for
        Sanctions to be Imposed.

        Federal Rule of Civil Procedure 83 provides that “[n]o sanction or other

disadvantage may be imposed for noncompliance with any requirement not in

federal law, federal rules, or the local rules unless the alleged violator has been

furnished in the particular case with actual notice of the requirement.” Fed. R. Civ.

P. 83(b). “Rule 83(b) ensures that litigants are not unfairly sanctioned for failure to

comply with a local rule of the court or internal operating procedures or the like of

which they are unaware.” Carroll v. Jaques Admiralty L. Firm, P.C., 110 F.3d 290,

293 (5th Cir. 1997).

V.      Other Standards

        While the Show Cause identifies other standards (Local Rule 83.1, Rule of

Professional Conduct 1.2, Rule of Professional Conduct 1.3, Rule of Professional
                                          10
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Conduct 3.3, the Oath of Admission, and Kathleen’s sworn oath), these do not apply

to each charge in the Show Cause. Kathleen will address those standards below

where appropriate. Of note, Kathleen had not reached the point of submitting a pro

hac vice application, and neither the Northern District nor Middle District’s Local

Rules require attorneys admitted pro hac vice to take this oath. Nevertheless, none

of Kathleen’s conduct violated these oaths.

                        BACKGROUND INFORMATION

      Kathleen graduated from Harvard Law School in 2000 and then clerked for

Judge Merrick Garland on the D.C. Circuit and Justice John Paul Stevens on the U.S.

Supreme Court. Ex. A, Hartnett Decl. at p. 2. Her professional experience includes

service as special assistant and associate counsel to the President of the United States

and as Deputy Assistant Attorney General in the Department of Justice. Ex. A,

Hartnett Decl. at p. 3. In 2020, Kathleen joined the Cooley firm where she is a

member of the Business Litigation group and leads the firm’s Issues and Appeals

practice group. Ex. A, Hartnett Decl. at p. 2. Kathleen has a robust commercial

litigation practice and she also handles pro bono cases. Id. The Walker case was one

of her pro bono matters. Ex. A, Hartnett Decl. at pp. 3–4.

      Kathleen was the partner supervising the Cooley team working on the Walker

case. Ex. A, Hartnett Decl. at p. 4. The Cooley team joined Lambda Legal, ACLU

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National, and ACLU Alabama to provide litigation support for the constitutional

challenge to the Alabama Vulnerable Child Compassion and Protection Act. Ex. A,

Hartnett Decl. at pp. 3–4; Aug. 3, 2022 Hrg. Trans. at 42:20–43:18. Because she lives

in and bases her legal practice out of California and had not yet applied for pro hac

vice admission in the Walker case, Kathleen and the Cooley team relied on local

counsel in Alabama for guidance and information relating to local rules and customs.

        SUMMARY OF KATHLEEN’S CONDUCT AND TESTIMONY2

       Kathleen’s Declaration, Supplemental Declaration, and testimony at the

August 3, 2022 evidentiary hearing, along with other testimony and evidence,

establish the following facts pertaining to her knowledge, intentions, and actions:

       In 2020, the ACLU, ACLU Alabama, and Lambda Legal formed a team to

challenge the legality of a contemplated law in Alabama restricting medical care for

transgender youth in the Middle District of Alabama. Vague, Doc. 80-7, Esseks Decl.

at p. 11. Kathleen and Cooley were not a part of the team in 2020. At that time, the

team had discussions about and intended to mark the to-be-filed case as related to

Corbitt, which the ACLU and ACLU Alabama were litigating as counsel of record.

Ex. A, Hartnett Decl. at p. 6; Vague, Doc. 80-13, Borelli Decl. at p. 5; Vague, Doc.


2
  Kathleen is attaching her Declaration (Exhibit A; Vague, Doc. 80-12), her Supplemental
Declaration (Exhibit B; Doc. 506-1), and copy of the Corbitt docket sheet (Exhibit C) for reference.
In a separate filing, Kathleen made an offer of proof of an expert declaration. Doc. 504. The expert
declaration supports a number of conclusions in this brief, should the Court choose to consider it.
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80-7, Essex Decl. at p. 16; Vague, Doc. 80-16, Charles Decl. at pp. 14–17, 23. No

lawsuit was filed in 2020 because the bill did not become law.

      In March 2021, the Alabama Legislature was considering a similar bill, and

the ACLU asked Kathleen and Cooley to join the team (the “Walker team”). Ex. A,

Hartnett Decl. at pp 3–4. Kathleen understood from Walker co-counsel that they

intended to file Walker in the Middle District and mark it as related to Corbitt

because the two cases involved overlapping factual and legal issues. Ex. A, Hartnett

Decl. at p. 7. She also understood that Corbitt was on appeal and was expected to be

remanded back to Judge Thompson for further proceedings that entailed, at

minimum, resolution of an attorneys’ fee motion. Ex. A, Hartnett Decl. at p. 7.

Kathleen did not believe Corbitt’s status on appeal meant that it could not be

“related” to Walker. See Aug. 3, 2022 Hrg. Trans. at 20:20–21:2

      Soon after joining the case in 2021, Kathleen directed Cooley lawyers to

research the related case designation—in particular, to research any local substantive

or procedural requirements for marking a case as related to another on the civil cover

sheet. Ex. A, Hartnett Decl. at p. 16; Vague, Doc. 80-9, Veroff Decl. at p. 4. After

reviewing the research, she agreed that the team had a reasonable basis to mark

Walker related to Corbitt. Ex. A, Hartnett Decl. at pp. 7–8; 16–17. Because of the

overlapping legal and scientific issues with Corbitt and the lack of any Middle

                                         13
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District local rule providing standards for marking “related” on the civil cover sheet,

Kathleen believed there was a good faith basis for marking Walker related to Corbitt

that did not violate any rules or standards. Ex. A, Hartnett Decl. at pp. 7–8; 16–17.

Ultimately, no lawsuit was filed in 2021 because the bill did not become law. Ex. A,

Hartnett Decl. at 4.

      In early 2022, the Walker team—including Kathleen and the Cooley team—

again prepared for litigation in light of the potential passage of the law in Alabama.

Ex. A, Hartnett Decl. at 4. They resumed work where they had left off in 2021, and,

as in 2021, they intended to file their case in the Middle District and mark it as

“related” to Corbitt on the civil cover sheet. Corbitt was still on appeal at this time.

Ex. A, Hartnett Decl. at 6–9.

      On April 12, 2022, the day after Walker was filed, Carl Charles, a Walker

attorney from Lambda, called Judge Thompson’s chambers at the suggestion of

others on the Walker team to alert chambers that a motion for preliminary injunction

was being filed. See Vague, Doc. 80-7, Esseks Decl. at p. 20 (explaining that Mr.

Charles called Judge Thompson’s chambers at Mr. Esseks’ suggestion); Vague, Doc.

80-16, Charles Decl. at p. 72 (same). Kathleen learned that Carl Charles called Judge

Thompson’s chambers on April 12 because she was following email traffic among

Walker counsel while she was in a deposition preparation session that day with a

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witness in a different case. Ex. B, Supp. Decl. at ¶ 4. Kathleen did not (1) participate

in this call, (2) direct or advise Mr. Charles to make this call, or (3) provide any input

on whether to make the call or what to say. See id.; Vague, Doc. 70 at 18; Aug. 3,

2022 Hrg. Trans. at 25:13–15 (Kathleen, explaining that she was “in deposition prep

or something that day” and was merely “following the email traffic” related to the

call). Regardless, Kathleen does not believe that Charles’s call was inappropriate.

See Aug. 3, 2022 Hrg. Trans. 26:12–20; Ex. B, Hartnett Supp. Decl. at ¶ 4.

      Later, on April 12, 2022, the Walker team filed a Motion to Reassign Walker

to Judge Thompson based on instructions from the Middle District clerk’s office that

such a motion was required to effectuate the related case designation, which was,

according to the clerk’s office, not self-executing. Ex. A, Hartnett Decl. at p. 10;

Doc. 70 at 20 (Report finding that junior associate “spoke to a Middle District clerk’s

office employee and was told that counsel would need to file a motion to relate

Walker to Corbitt…”). However, after Judge Marks entered a Show Cause Order as

to why Walker should not be transferred to the Northern District—where the

Ladinsky had filed a separate action—the Walker team, believing a transfer was

inevitable, withdrew their motion to reassign and consented to the transfer. Walker,

Doc. 18.




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       The Report discusses “an April 13th call that took place between the Ladinsky

and Walker teams” that purportedly included (1) Walker team members trying to

“drum up support for Ladinsky counsel transferring their case to the Middle District

and proceeding before Judge Thompson” and (2) discussions about various judges

and how they might view these cases. Vague, Doc. 70 at 24–25.3 Kathleen was not

on this call; she was in a deposition in a different case that day. Ex. B, Hartnett Suppl.

Decl. ¶¶ 5–6. No one who was on the April 13 call testified that Kathleen

participated. Aug. 3, 2022 Hrg. Trans. at 213–214 (Esseks); Nov. 3, 2022 Hrg. Trans.

at 30–31 (Orr); Aug. 4, 2022 Hrg. Trans. at 33:1–15 (Eagan).

       Good Friday, April 15, 2022 was a hectic day during which the posture of the

Walker litigation changed rapidly:

           • Members of the Walker and Ladinsky teams (including Kathleen) had a

               call earlier in the day to discuss procedural next steps and consolidation,

               now that both of their cases were in the Northern District. This

               conversation was the first time that Kathleen interacted with any

               members of the Ladinsky team. Hartnett Supp. Decl. at ¶ 10; Hartnett

               Decl. at 27.



3
 Kathleen is relying on the Report’s characterization of this call for purposes of reference, as she
was not on this call.
                                                16
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           • Despite Kathleen’s belief that Walker would be assigned to Judge Axon,

               who was then presiding over the first-filed Ladinsky, Walker was

               assigned to Judge Burke.4 Aug. 3, 2022 Hrg. Trans. at 46:10–19.

           • At 4:07 p.m. that Friday, Judge Burke entered an order setting Walker

               for a status conference on the following Monday morning at 10:00 a.m.

               Vague, Doc. 70 at 28. At this point, Kathleen mistakenly believed that

               Walker would be transferred to Judge Axon, who was then assigned to

               the first-filed case (Ladinsky), and that the Monday status conference

               would likely be canceled. See Aug. 3, 2022 Hrg. Trans. at 64:18–65:24;

               Hartnett Decl. at pp. 28–29.

           • Around 4:45 p.m., Kathleen was on a call with an Alabama Deputy

               Attorney General discussing consolidation and how to inform Judge

               Burke of the plan to seek consolidation. During that call, Judge Axon

               entered an order reassigning Ladinsky to Judge Burke. At that point,

               Kathleen first realized that the status conference set by Judge Burke

               would go forward on Monday. As explained above, prior to Judge




4
 Kathleen now understands, based on the Panel’s explanation, why Walker was assigned to Judge
Burke. At the time, she did not know the Northern District’s assignment procedures for transferred
cases, and Judge Marks’s transfer order said that Walker was being transferred so that “it may be
decided with Ladinsky.” Walker, Doc. 20.
                                               17
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        Axon’s order, Kathleen believed—albeit mistakenly—that Judge Burke

        may not have known about the posture of both cases and that he would

        likely cancel the status conference when the parties informed the Court

        about the plan to consolidate before Judge Axon. See Aug. 3, 2022 Hrg.

        Trans. at 64:18–65:24; Hartnett Decl. at pp. 28–29.

     • Because it was Easter weekend and the beginning of Passover, the lead

        lawyers in Walker, who all lived outside Alabama, faced difficulties

        being present for the status conference on Monday, April 18. Ex. A,

        Hartnett Decl. at pp. 29–30.

     • Kathleen had serious concerns about the ability of the Walker team’s

        sole attorney present in Alabama to handle the status conference. Those

        reasons included her performance that week, the uncertainties arising

        from the likely consolidation of Walker with Ladinsky, the on-the-spot

        case management decisions that would likely need to be made during

        the course of the conference, and the tension between the advocacy

        groups. Ex. A, Hartnett Decl. at pp. 29–30; Aug. 3, 2022 Hrg. Trans. at

        24:9–21, 73:6–19, 81:12–14.

     • Although the status conference was not planned to discuss the merits,

        the procedural aspects of the cases were critical and complex. For

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        example, Ladinsky was first filed, but Walker had a pending motion for

        a preliminary injunction. Aug. 4, 2022 Hrg. Trans. at 62:16–64:6. The

        two teams had different experts, different claims, and different

        philosophies. Aug. 3, 2022 Hrg. Trans. at 52:1–5; 55:15–16. These

        differences would require effective advocacy and coordination with

        Ladinsky counsel with almost no time to prepare. Among other issues,

        Kathleen believed the Court was likely to take up how a preliminary

        injunction hearing would proceed. Kathleen did not have confidence in

        local counsel to handle these issues at the status conference. Ex. A,

        Hartnett Decl. at p. 29–30.

     • Kathleen’s concerns about coordinating with Ladinsky counsel,

        particularly in light of the tension between the advocacy groups, were

        heightened when she realized that the two teams would have to appear

        together on Monday. Specifically, Kathleen testified that the status

        conference was “the forcing mechanism” that made her realize “we’re

        not going to get our acts together in time for Monday.” Before that

        point, the teams had a general plan to work together, but they had not

        had “even . . . one strategic conversation.” In other words, the status




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              conference forced Kathleen to confront the “the inevitable train wreck

              that was coming.” Aug. 3, 2022 Hrg. Trans. at 53:14–54:20.

          • Kathleen did not have any personal knowledge about Judge Burke, but

              she was aware of concerns that had been voiced by other attorneys. She

              was also concerned with the sudden and unexpected reassignment from

              Judge Axon to Judge Burke. Ex. A, Hartnett Decl. at p. 30.

          • Kathleen also believed the defendants might file an answer over the

              weekend, which would have eliminated the option of a Rule

              41(a)(1)(A)(i) voluntary dismissal.5 Ex. A, Hartnett Decl. at 30.

          • All of these concerns—the lack of confidence in the one attorney who

              could appear for the Walker team at the joint status conference on the

              Monday after Easter, the potential strategic importance of decisions

              concerning consolidation and scheduling that might arise at the status

              conference, the questions about why Ladinsky was consolidated with

              Walker before Judge Burke, and the potential loss of the right to dismiss

              under Rule 41 if the State were to quickly file an answer—led Kathleen

              to believe that a Rule 41 dismissal without prejudice was in the best



5
 Underscoring the validity of this concern, some defendants filed an answer is Eknes-Tucker two
days after the Complaint was filed.
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               interests of her clients. Concern with Judge Burke was not Kathleen’s

               sole, or even her predominant, consideration. Ex. A, Hartnett Decl. at

               pp. 29–30.

           • Kathleen viewed Rule 41 as providing an absolute right to voluntarily

               dismiss as long as the Defendants had not filed an answer or motion for

               summary judgment. Aug. 3, 2022 Hrg. Trans. at 82:20–83:8.

           • Late in the afternoon of April 15, Kathleen briefly spoke with Shannon

               Minter of Ladinsky counsel about dismissal after the transfer of

               Ladinsky to Judge Burke and prior to dismissal.6 Aug. 3, 2022 Hrg.

               Trans. at 80:4–83:6. During their interaction, Kathleen and Minter also

               discussed their teams’ shared intent to regroup and discuss possibly

               joining forces to refile a new case. Hartnett Decl. at p. 21; Aug. 3, 2022

               Hrg. Trans. at 82:6–84:10.

           • The Report discusses a “5:00 p.m. conference call” on April 15th

               involving multiple members of both the Ladinsky and Walker teams and


6
  Jennifer Levi testified that she talked to Kathleen on April 15th about dismissing and a possible
refiling. Aug. 4, 2022 Hrg. Trans. at 30:14–31:11. Kathleen does not remember talking to Levi
about this; she only recalls talking to Minter, but she cannot definitively say that she did not talk
to Levi. Hartnett Supp. Decl. at ¶ 14. Regardless, Levi’s description of this conversation is
consistent with Kathleen’s thought process at this time. See id. Levi says that they discussed
dismissal and that Kathleen said any refiling discussion would have to involve more members of
her team but that they would move quickly to discuss the options available to the groups. Id.;
compare Aug. 3, 2022 Hrg. Trans. at 78: 18–79:7, 88:1–12 and Ex. A, Hartnett Decl. at p. 21.
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        says that Kathleen was on the call. Vague, Doc. 70 at 31. Kathleen was

        not on the call described by the Panel, see Hartnett Supp. Decl. at ¶¶ 7–

        14, and, indeed, this section of the Report appears to confuse several

        phone calls among different groups of lawyers. Regardless, the call that

        the Report focuses on apparently involved discussions about judicial

        preferences—namely, a purported comment about a “zero percent

        chance” that Judge Burke would grant the requested relief. Again,

        Kathleen was not on such a call, and to the extent the Report states that

        she was, the cited testimony says otherwise. See Aug. 4, 2022 Hrg.

        Trans. at 168–179; Vague Doc. 70 (citing same); see also Hartnett Supp.

        Decl. at ¶¶ 7–14.

     • Kathleen and the Walker team independently decided to dismiss

        Walker, but the Ladinsky team’s intent to dismiss was a factor in her

        decision: “The Walker team made this decision independently from the

        Ladinsky team, but as part of this decision considered that the Ladinsky

        team also was contemplating dismissal and was likely to dismiss.” Ex.

        A, Hartnett Decl. at pp. 30–31; see Aug. 3, 2022 Hrg. Trans. at 85:14–

        17 (“[W]e kind of independently -- I also agreed to that. But it was




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             informed by the notion that they likely were, and I think we kind of

             both confirmed that we were around the same time.”).

          • Kathleen did not view the Ladinsky dismissal as a required condition to

             dismissing Walker. Aug. 3, 2022 Hrg. Trans. at 84:25–85:11. However,

             she did agree to coordinate the timing of the two dismissals with the

             Ladinsky team as a “professional courtesy” Aug. 3. Hrg. Trans. at 84:

             13–24.

          • The Walker team dismissed their case on that Friday, April 15, 2022.

      Representatives of the various advocacy groups involved in the Walker and

Ladinsky cases had a call on Saturday, April 16 to discuss next steps. Kathleen was

not invited to and did not participate in this call, but she learned afterwards that the

call was acrimonious and that it revealed an inability of the Walker and Ladinsky

teams to work together to file a new case. After receiving a report of the call that

Saturday afternoon, Kathleen decided that Cooley would not participate in the filing

of a new lawsuit. Aug. 3, 2022 Hrg. Trans. at 87:3–12. Kathleen did not participate

in filing Eknes-Tucker or in any decision-making related to filing Eknes-Tucker—

including where to file and which plaintiffs to include. See Ex. A, Hartnett Decl. at

pp. 21–22.



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                                  ARGUMENT

       The Show Cause incorporates eight findings from Section V of the Report into

the Charges against Kathleen, and it adds new charges related to obtaining client

consent for the dismissal of Walker and potential discrepancies and nondisclosures

in her testimony. It then requires Kathleen to show cause why she should not be

sanctioned under these Charges. Doc. 479 at 12–13. This Argument section is

divided into five sections that address the Charges in the Show Cause.

       Section I below addresses the Show Cause’s first Charge, involving the

related case designation; Section II below addresses the next two Charges, which

do not relate to Kathleen’s conduct; and Section III below addresses the four

Charges that are related to dismissal (only some of which relate to Kathleen’s

conduct); Section IV below addresses Paragraph III(b) of the Show Cause, which

relates to Kathleen’s credibility and testimony before the Panel; and Section V below

addresses the dismissal of Walker without obtaining client consent. Kathleen’s

response addresses only her own personal conduct, because other attorneys’ conduct

and “collective misconduct” cannot be the basis for sanctions.

I.      Charge 1: “Walker counsel, including Ms. Hartnett, to mark Walker
       related to a case closed one year earlier decided by a ‘favorable’ judge.”

       As explained herein, the Walker team’s relatedness designation cannot be the

basis for sanctions against Kathleen. That designation was not intended to and did
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not manipulate the random case assignment procedures, was objectively reasonable,

was made in good faith, was not a contrivance, and was not made for an improper

purpose. Moreover, Kathleen did not have notice of any controlling rule governing

the marking of a case as “related” to another in the Middle District of Alabama and

therefore cannot be sanctioned for marking Walker as related to Corbitt. The Middle

District of Alabama does not have a rule that defines “related” or describes the

Court’s procedure for determining relatedness. When, as here, “there is no

controlling law” on a procedural matter, “[n]o sanction or other disadvantage may

be imposed for noncompliance with any requirement not in federal law, federal rules,

or the local rules unless the alleged violator has been furnished in the particular case

with actual notice of the requirement.” Fed. R. Civ. P. 83(b).

      A.     Designating a Case as Related is a Permissible Deviation from the
             Default Random Case Assignment System in Federal District
             Courts.
      This Court and the Panel have both characterized the relatedness designation

as a species of “judge-shopping” and as an attempt to manipulate the random case

assignment procedures. For example, the Show Cause cites to a case holding “that a

contrivance to interfere with the judicial assignment process constitutes a threat to

the orderly administration of justice.” Doc. 479 at 5 (quoting In re BellSouth Corp.,

334 F.3d 941, 959 (11th Cir. 2003). However, the consolidation or assignment of


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related cases is a permissible exception to the default approach of random

assignment, not a contrivance intended to improperly manipulate the random

assignment of cases.

      In general, courts have broad discretion to establish procedures for the

assignment of cases. See 28 U.S.C. § 137 (“The business of a court having more than

one judge shall be divided among the judges as provided by the rules and orders of

the court.”). The Middle District of Alabama, like most, if not all, federal district

courts, has a random assignment process: “Civil cases shall be divided among the

judges of this Court through a computerized random selection process.” M.D. Ala.

LR 40.1.

      However, both by rule and practice, the random assignment process for district

courts has certain exceptions, including for related cases. Relevantly, the standard

Civil Cover Sheet—which was approved by the Judicial Conference of the United

States in 1974—requires a plaintiff to identify any “related cases.” Depending on the

district, a case that is related to a previously-filed case can be assigned or reassigned

to the judge handling the previously-filed related case. See, e.g., James v. Hunt, 761

F. App’x 975, 980 (11th Cir. 2018) (“[T]he initiating judge had inherent authority to

manage the district court docket and reassign the case to a judge who had presided

over a prior related case.”); Ogier as Trustee for Pampillon v. American National

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Red Cross, 2018 WL 10699592, at *1 (N.D. Ga. Feb. 21, 2018) (“Under this Court's

internal operating procedures, it is appropriate to assign related cases to the same

judge.”).

      The District Court for the District of Columbia has described the related case

doctrine as “an exception to the general rule of random assignment of cases,” Tripp

v. Exec. Off. Of the President, 194 F.R.D. 340, 342 (D.D.C. 2000), a means “to

circumvent the normal random assignment system to make a direct assignment to a

particular judge,” Comm. on Judiciary v. McGahn, 391 F. Supp. 3d 116, 119 (D.D.C.

2019), and “the reason that circumvention of random assignment is sometimes

permissible.” Millard v. Gov't of D.C., 2023 WL 2301927, at *2 (D.D.C. Mar. 1,

2023); see also Plants v. US Pizza Company, Inc., 2019 WL 13212704, at *2 (E.D.

Ark. Mar. 27, 2019) (“There is an exception to this general rule [of random

assignment] for ‘related cases.’”).

      Similarly, district courts can have non-random assignment rules and practices

for cases involving successive actions with the same parties, vexatious litigants, or

judicial efficiency. See, e.g., M.D. Fla. LR 1.05; 1.07. Judge Axon invoked this

practice here when she, as Judge Proctor explained, had a two-week criminal trial

that prevented her from promptly giving attention to Ladinsky or Walker, and as a

result, she reassigned Ladinsky to Judge Burke, who had already been assigned to

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Walker.7 Judge Proctor similarly stated in a recent opinion: “When two cases are

filed in a single district however, ‘District Judges have the inherent power to transfer

cases from one to another for the expeditious administration of justice.’ . . . Given

‘the district court’s broad authority over its own docket,’ a district judge may

‘reassign cases at its discretion, consistent with its local rules.’” Coleman v. Town of

Brookside, Alabama, 2022 WL 4391678, at *1 (N.D. Ala. Sept. 22, 2022) (internal

citations omitted).

       In short, random assignment is the default procedure for judicial assignments,

but in the Middle District, like in all districts, courts and parties can invoke certain

exceptions that result in non-random assignments of cases. This context is important

here because the Walker team attempted to invoke one of these permissible

exceptions by designating Walker as related to Corbitt. Invoking a permissible

exception from the default random assignment process is not a sanctionable

contrivance to manipulate the random assignment process.




7
  Kathleen is not suggesting that the Court acted improperly in any way. Her point is that despite
the default of random assignment procedures, Ladinsky was not randomly assigned to Judge Burke.
The Report and this Court’s April 5, 2024 Order both state that Judge Axon—rather than a random
system—made the decision to transfer Ladinsky to Judge Burke.
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      B.     Kathleen’s Agreement with Other Walker Counsel’s Decision to
             Mark Walker as Related to Corbitt was not for an Improper
             Purpose.

      Rule 11 prohibits filings that are “being presented for any improper purpose,

such as to harass, cause unnecessary delay, or needlessly increase the cost of

litigation.” Fed. R. Civ. P. 11(b)(1). The Eleventh Circuit has described this prong of

Rule 11 as a pleading that “is filed in bad faith for an improper purpose.” Baker v.

Alderman, 158 F.3d 516, 524 (11th Cir. 1998) (emphasis added). “Improper purpose

may be shown by excessive persistence in pursuing a claim or defense in the face of

repeated adverse rulings or by obdurate resistance out of proportion to the amounts

or issues at stake.” Pierce v. Com. Warehouse, 142 F.R.D. 687, 690–91 (M.D. Fla.

1992). The Fourth Circuit has said:

      [I]f a complaint is filed to vindicate rights in court, and also for some
      other purpose, a court should not sanction counsel for an intention that
      the court does not approve, so long as the added purpose is not
      undertaken in bad faith and is not so excessive as to eliminate
      a proper purpose. Thus, the purpose to vindicate rights in court must be
      central and sincere.

In re Kunstler, 914 F.2d 505, 518 (4th Cir. 1990). Here, the Court has identified the

possible “improper purpose” as “judge shopping,” i.e., manipulating or

circumventing the random assignment of judges. Doc. 479 at 5.

      The Walker team’s relatedness designation was not for an improper purpose.

The related case doctrine is a recognized exception to the random assignment
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process—a “reason that circumvention of random assignment is sometimes

permissible.” Millard, 2023 WL 2301927, at *2. The exception is recognized in both

the standard Civil Cover Sheet and the Middle District of Alabama’s Civil Cover

Sheet. As noted below, district courts around the country—although not the Middle

District of Alabama—have rules governing this permissible “exception” to or

“circumvention” of the random assignment process. In other words, courts permit

parties to designate a case as related and to advocate for why a court should deem

two cases as related. Thus, seeking a relatedness determination is not an improper

purpose. Rather, it is an accepted practice around the country.

      The Walker team engaged in that accepted practice. They marked Walker as

related to Corbitt. Then, at the direction of the Middle District clerk’s office, they

filed a motion arguing why the two cases had overlapping factual and legal issues

and why reassignment to Judge Thompson would further judicial economy. Walker,

Doc. 8. There was nothing underhanded or contriving about this: the arguments were

made in the open, on the record, and in a motion that put the relatedness decision

firmly within the control of the court. This course of conduct exactly mirrors what

this Court said is the procedure for reassignment based on relatedness: “[M]arking

the cover sheet as related is not enough to direct the assignment in a particular way.

If reassignment is sought after the judge is randomly assigned, an appropriate motion

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is required.” Doc. 466 at 24. Advocating for a well-recognized exception to the

random assignment process and following the Court’s unwritten procedure—as

relayed by the Middle District clerk’s office itself—is not a course of conduct taken

for an improper purpose. Kathleen and the Walker team analyzed the facts and the

law and followed an accepted procedure in an effort to advance their clients’

objectives as warranted by existing law.

      Kathleen readily acknowledged that the Walker team viewed Judge Thompson

as a favorable draw. She also explained that the relatedness designation and motion

to reassign were well-founded as a matter of fact and law. See Aug. 3, 2022 Hrg.

Trans. at 22:23–23:22. Both can be and are true. As the Motion to Reassign stated,

the Walker case involved “[t]iming exigencies” because it sought preliminary

injunctive relief. Walker, Doc. 8 at 2. The emergency nature of this case and the

injunctive relief sought, in addition to the overlapping factual and legal issues in

Walker and Corbitt, provided not only a plausible but a reasonable basis for seeking

reassignment. Judge Thompson was already familiar with several of the factual,

scientific, and legal issues and, thus, was in a position to efficiently rule on a time-

sensitive request for injunctive relief. Kathleen testified about Judge Thompson’s

familiarity with the issues:

      [T]o understand and be able to adjudicate that case, you had to be
      familiar with transgender versus cisgender people; the general kind of
                                           31
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      what is entailed when you change your -- when you do a gender
      transition. So that -- which is, again, something people are becoming
      more familiar with, but it's not always a topic that even -- when I started
      doing these cases, you know, you have to learn it. So he clearly, by
      having ruled in [Corbitt], understood the general notion of what gender
      transition means when you change your gender marker, that type of
      thing.

Aug. 3, 2022 Hrg. Trans. at 61:25–62:10. She also testified about Judge Thompson’s

familiarity with the specific due process claims that Walker was advancing. Id. at

61:11–20.

      Thus, taken together, the facts surrounding the relatedness marking on the

civil cover sheet show a proper purpose. Relatedness is a well-recognized exception

to the random assignment process. The Walker team’s marking of the case as related

to Corbitt was warranted by existing law. The Walker team filed a motion arguing

the basis for a reassignment, including potential judicial economy, and left the

decision to have the cases deemed related to the court. All of these factors

demonstrate that Kathleen and the Walker team had proper purposes for marking

related. Even if the Court concludes that the Walker team marked Walker as related

to Corbitt primarily for the purpose of drawing Judge Thompson, then the Court

should still “not sanction counsel for an intention that the court does not approve”

because the Walker team and Kathleen had (1) a good faith basis for marking related




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and (2) a legitimate and proper purpose in maximizing judicial economy in a case

seeking emergency relief. Kunstler, 914 F.2d at 518.

      C.     Kathleen’s Agreement with Other Walker Counsel’s Decision to
             Mark Walker as Related to Corbitt was Objectively Reasonable and
             Therefore Did Not Violate Rule 11.
      In the absence of clear guidance from the Middle District regarding what cases

are “related” or “pending,” the Walker team’s decision to mark Walker and Corbitt—

which overlapped both factually and legally—as related was objectively reasonable

and therefore not sanctionable under Rule 11.

      The “Relatedness” Determination was Reasonable. Notably, the Middle

District does not have a Local Rule, General Order, or other public guidance on the

definition of “related,” the assignment of related cases, or the determination of

relatedness. The only public guidance is the Civil Cover Sheet, which says, “This

section of the JS 44 is used to reference related pending cases, if any. If there are

related pending cases, insert the docket numbers and the corresponding judge names

for such cases.” Local Rule 3.1 even says, “This requirement [to complete a civil

cover sheet] is solely for administrative purposes, and matters appearing in the civil

cover sheet have no legal effect in the action.” M.D. Ala. LR 3.1.

      Although the Middle District does not have a rule that defines “related” or

describes how related cases are assigned, many district courts do, and the various


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local rules and orders across the country vary greatly, with at least some districts not

merely allowing, but requiring cases to be marked as “related” where they involve

similar questions of law or fact (as Corbitt and Walker did):8

    District                                      Rule

    Northern District of Florida                  LR 5.6: “the new case involves issues of
                                                  fact or law in common with the issues in
                                                  another case pending in the District.”
    District of Hawaii                            LR 40.2: “involve the same or
                                                  substantially identical transactions,
                                                  happenings, or events, or the same or
                                                  substantially identical questions of
                                                  law.”
    Eastern District of Kentucky                  LR 40.1: “Cases may be considered
    Western District of Kentucky                  related if they meet the requirements of
    (Joint Rules)                                 F.R.Civ.P.42(a)”
                                                  FRCP 42(a): “involve a common
                                                  question of law or fact”
    Southern District of Ohio                     LR 3.1: “Call for a determination of the
                                                  same or substantially identical questions
                                                  of law or fact.”
    Middle District of Tennessee                  AO 176: “The cases involve common
                                                  questions of law or fact (see, e.g., Fed.
                                                  R. Civ. P. 42(a))”

         In light of these rules, Walker counsel’s determination that Walker was

“related” to Corbitt was objectively reasonable. Both Walker and Corbitt dealt with

civil rights claims for transgender persons under an emerging, if not novel, theory of


8
  Many other districts require similar questions of law and fact, but even if this Court finds the
facts of Corbitt and Walker were not plausibly similar, then at least some districts’ rules would
allow a finding of relatedness based only on similar questions of law.
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Constitutional rights. Similarly, they both involved factual issues related to

differences between gender identity and biological sex and the different medical

treatments and procedures available to transgender persons. As this Court is likely

aware, the issues raised in Walker and Corbitt are not run-of-the-mill issues. Under

many district courts’ relatedness rules—but particularly those based on similar

questions of law—these overlapping legal and factual issues present, at the very

least, a colorable claim of relatedness.

      In addition, many districts either initially assign later-filed related cases to the

judge assigned to the earlier-filed related case or allow the judge with the earlier-

filed case to make a relatedness determination: (1) Eastern District of Arkansas, GO

39(b)(5); (2) Northern District of California, LR 3-12; (3) District of Columbia, LR

40.5(c)(1); (4) Northern District of Illinois, LR 40.4; (5) District of Nebraska, GR

1.4(a)(4)(B)(i); (6) District of Nevada, LR 42-1(b); (7) Southern District of New

York, Rules for the Division of Business Among District Judges 13(b)(2); (8) Eastern

District of Pennsylvania, Civil Rule 40.1(V)(a); (9) Western District of

Pennsylvania, LCR Rule 40(E); (10) District of Rhode Island, LR 105(a)(2); (11)

District of Utah, DUCivR 83-2(g); (12) District of Vermont, GO 73(g); (13) Eastern

District of Wisconsin, Civil LR 3(b)(4); (14) Western District of Wisconsin, AO 347;

(15) District of Wyoming, LR 40.2(a)(1)(A)(ii). Thus, in absence of a local rule or

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order on the matter, the Walker team’s initial belief that Judge Thompson would

either receive the initial assignment of Walker or determine relatedness was

consistent with several other districts’ practices and not precluded by any express

rule or procedure in the Middle District.

       The “Pending” Determination Was Reasonable. Similarly, Walker counsel

acted reasonably in determining that Corbitt was still “pending.” The Middle

District’s Civil Cover Sheet allows, if not requires, the identification of any “related

pending cases.” The Report noted that Corbitt had been marked “closed,” which is

presumably a reference to the notation on the docket sheet on CM/ECF and Judge

Thompson’s Order stating “This case is closed.” Corbitt, Doc. 102. Seemingly, the

Panel equated “closed” with “not pending.”

       However, the Middle District does not provide any guidance on what

“pending” means. Neither the Civil Cover Sheet nor any local rule does so. At most,

CM/ECF allows searches for “Open cases” and “Closed cases.”9 But, a closed case

can still have significant activity and have pending issues for either the district court

or the court of appeals to resolve. As of the date of this filing, Corbitt itself has

eighteen docket entries, including two motions that have been ruled on, since it was


9
 This option is available on the Reports>Civil Reports>Civil Cases page. The Middle District also
publishes a list of “Flag Definitions” for cases on Pacer and CM/ECF. See
https://pacer.uscourts.gov/file-case/court-cmecf-lookup/court/ALMDC. This list of definitions
does not include a definition of “pending.”
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marked “closed.” See Ex. C, Corbitt Docket Sheet. The undersigned counsel’s firm

had a case in the Northern District of Alabama—Killough v. All Points Logistics,

5:17-cv-00247-AKK—that was closed on March 8, 2022 when the court entered a

judgment after a jury verdict. After being marked “closed,” the defendant filed

numerous post-trial motions, which required extensive briefing and rulings from the

court. The plaintiff also filed a bill of costs, on which the court ruled. In fact, the

docket shows over eighty docket entries after the case was “closed.” It would not be

unreasonable to have understood that case to have been “pending,” despite the

“closed” marking on the docket.

      Further, a “closed” case, like Corbitt, can be on appeal. So, while the district

court proceeding may be inactive or “closed,” the case itself is still very much

“pending” in the federal court system. Not only can a case be pending and active in

a court of appeals, but it could also eventually be remanded for further proceedings

in the district court, including for the award of fees or costs. Indeed, the Fifth Circuit

has held, although in a different context, “[a]bsent any legislative history to the

contrary, an action is ‘pending’ so long as a party’s right to appeal has not yet been

exhausted or expired. . . . The fact that a motion for attorneys’ fees is the only matter

pending before a court does not mean that court lacks jurisdiction or that the case is




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not ‘pending.’” Knights of the Ku Klux Klan Realm of Louisiana v. E. Baton Rouge

Par. Sch. Bd., 679 F.2d 64, 67 (5th Cir. 1982).

      In other words, a “closed” case can still have “pending” issues that require

resolution and significant activity. That was exactly the case with Corbitt. On March

2, 2021, after the case was “closed,” the court extended the deadline for the plaintiffs

to file a motion for attorneys’ fees and expenses until after resolution of an appeal.

When Walker was filed, the attorneys’ fee issue was still pending. Further, on April

27, 2022—only sixteen days after the Walker filing—an attorney for the State of

Alabama filed a motion to withdraw, which the court granted.

      Ultimately, in the absence of express guidance, the term “pending” is not

synonymous with “closed,” and it could be—and was—reasonably interpreted to

mean that the case has not reached a point of final adjudication. Because of the lack

of an express rule to the contrary, Rule 83 prohibits the imposition of a sanction for

the Walker team’s implicit statement that Corbitt was “pending.”

      Relatedness Determination Did Not Violate Rule 11. In the absence of

explicit rules in the Middle District regarding relatedness, advocating for a

relatedness finding that would be permissible in many district courts is not

sanctionable under Rule 11. If the relatedness designation would be proper under

several other districts’ rules, then it could not be frivolous or unwarranted by existing

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law. The absence of a specific rule or guidance in the Middle District of Alabama

left Kathleen and the Walker team with a professional judgment call as to whether to

mark Walker as related to Corbitt, and they did so in a way that was consistent with

existing law in other districts. In fact, the Walker team filed a Motion to Reassign

that included a reasonable legal basis for their relatedness determination. Walker,

Doc. 8.

      Further, marking Walker related to Corbitt is not “akin to contempt.” Other

than the Civil Cover Sheet, the Middle District does not have any rule or order

defining “related” or “pending.” Thus, Kathleen and the Walker team could not have

knowingly violated or acted with deliberate indifference to any rule. In fact, they did

the opposite; they researched and investigated the issues, and they determined that

no rule existed. In the absence of that rule, the Walker team marked Walker as related

to Corbitt in a manner consistent with commonplace understandings of relatedness

and with other districts’ rules. This course of conduct is simply not “akin to

contempt” and therefore is not sanctionable under Rule 11.

      Finally, the Walker team ultimately withdrew its relatedness designation

without a Rule 11 motion from the State of Alabama or the Court issuing a sua sponte

Rule 11 show cause order. As the comments to Rule 11 indicate, “Such corrective




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action … should be taken into account in deciding what—if any—sanction to

impose.” Fed. R. Civ. P. 11 cmt.

      Moreover, and critically, had the Court addressed the merits of the relatedness

issue (which it did not do because the Walker team consented to a transfer to the

Northern District), it could have ruled that the two cases were not related, and the

Walker team would have accepted that ruling. The mere marking of the Civil Cover

Sheet, where the Court had full discretion to relate or not relate the cases, could not

be considered a bad faith attempt to abuse the judicial process—it was an attempt to

use an acceptable judicial process appropriately.

      In light of the objective reasonableness of Kathleen and the Walker team’s

position and the lack of any conduct akin to contempt, Kathleen cannot be subject

to any Rule 11 sanction.

      D.     Kathleen’s Actions Regarding the Relatedness Designation Were
             Taken in Good Faith and Therefore Are Not Sanctionable Under
             the Court’s Inherent Authority.
      Kathleen’s extensive testimony regarding relatedness demonstrates that her

actions were taken in good faith and therefore cannot be the basis for a sanction

issued under the Court’s inherent authority. Kathleen testified that she believed that

Corbitt and Walker had overlapping legal and factual issues and that, although

Corbitt was marked “closed” on the Middle District docket, it was on appeal and


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would be returning to Judge Thomspon for, at least, further proceedings related to a

petition for fees and costs. Specifically, she said:

      My understanding was that my co-counsel wanted to be before Judge
      Thompson because he was expected to be receptive to our factual and
      legal claims, as he had been regarding similar legal claims in Corbitt,
      which involves Equal Protection and Due Process challenges to an
      Alabama law limiting transgender individuals’ rights. I also understood
      from co-counsel that the cases were related because they involved
      overlapping legal and factual issues. I understood Corbitt was on appeal
      before the Eleventh Circuit Court of Appeals and was expected to be
      remanded back to Judge Thompson for, at a minimum, resolution of an
      attorneys’ fee motion.
Ex. A, Hartnett Decl. at p. 7. In addition, Kathleen correctly noted that the Middle

District does not have a local rule on relatedness:

      We determined there was not a local rule on point. The civil cover sheet
      is essentially the rule. And we looked at the case law and did not find -
      - I hope we didn’t miss something -- any Middle District case law.

Aug. 3, 2022 Hrg. Trans. at 20:9–12. Kathleen had a good faith, reasonable belief

that marking related to Corbitt was appropriate:

      Ultimately, I concurred in the plan to file the case in the Middle District
      of Alabama and relate the case to Judge Thompson by checking a box
      on the civil cover sheet. Our belief at the time was that as a result of
      checking the box on the civil cover sheet for related cases, the case
      would then be sent to Judge Thompson to decide whether the case was
      sufficiently related to accept the case. We were not aware of any
      requirement in the Middle District of Alabama to file a motion to relate
      or reassign in order to perfect our relatedness designation on the civil
      cover sheet, and our review of the Middle District rules did not indicate
      any such process. I believed that because there was no clear guidance
      on the standard for relating a case in the Middle District of Alabama,

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      we had a reasonable basis for marking our case as related to Corbitt
      and, if the State opposed our marking the case as related, we might not
      be successful.

Ex. A, Hartnett Decl. at p. 8.

      Kathleen acknowledged in her testimony that her team viewed Judge

Thompson as a “good draw” given his prior experience with and favorable ruling in

a case raising factual and legal issues similar to those raised by Walker: “[T]o be

clear, Judge Thompson would be seen as a likely favorable judge for our cause.

That’s not a surprise.” Aug. 3, 2022 Hrg. Trans. at 19:20–21. However, Kathleen at

the same time had a good faith, reasonable basis for marking Walker as related to

Corbitt. She was candid on this point when questioned by the Panel:

             JUDGE PROCTOR: One of the things I was impressed with with
      your declaration is its clarity, its organization, and its candor. So I want
      to give you that compliment as we stand here. And the reason I’m
      asking this question is I’m asking you to really give us your candid
      response to this question. Was marking Corbitt related driven by the
      overlapping legal and factual issues, or because Judge Thompson, who
      I think your cocounsel and you have all said you viewed as a favorable
      draw if you could get Judge Thompson on your Walker case -- was it
      driven by who the judge was in Corbitt? That’s a question we have.

             MS. HARTNETT: Your Honor, we also didn’t give it a great deal
      of thought, to be totally honest with Your Honor. This was not some
      sort of plot to try to undermine the relatedness thing. We thought we
      had a reasonable basis for noting it as related, but we didn’t really even
      do that kind of counterfactual analysis.
           What I can say is as I was doing the declaration, I can distinguish
      between two things. Why did we want, hope that we got Judge
      Thompson? We thought he would be a good draw. He had just resolved
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      the transgender discrimination case in a way that was favorable to the
      plaintiff. Why did we mark the cases related? Because we believed that
      we had a good-faith basis for marking it as related under the rule.

             So in my mind, that – I’m not denying that we were hoping that
      that would be a good draw, there might be other good draws, but that -
      - the relatedness was not something we thought we could sneak that in
      or something. It was that we actually looked at the rule, looked at the
      law and facts, and thought this would actually be efficient for this --

             It’s a not [an] []obscure topic. Of course, Judge Burke was able
      to learn it and deal with it, so I appreciate that. But it involves issues of
      complex scientific issues about, like, what gender is and all these
      things, so it certainly seemed efficient for someone who had handled
      the case before to have it again.

Aug. 3, 2022 Hrg. Trans. at 22:12–23:22.
            JUDGE PROCTOR: And in fairness, that’s one thing you did
      understand, is Judge Thompson had experience with what you thought
      was a case that you ultimately said was related?

            MS. HARTNETT: Yes.

           JUDGE PROCTOR: And you thought his judicial philosophy
      would be favorable to your clients’ claims?
             MS. HARTNETT: Well, it’s not just in the philosophy, but
      generally, also, he had just ruled that transgender individuals were
      subject to protection under the equal protection and due process clauses,
      and so that’s a kind of specific -- some people might generally be open
      to a civil rights claim, but that would be a newer version of that. So it
      was -- we had recent understanding that he was kind of -- he had ruled
      -- he had accepted the same arguments we would be making in a general
      level in our case, with some complications presented by the medical
      context.

Aug. 3, 2022 Hrg. Trans. at 61:5–20. Kathleen’s testimony is consistent with the

testimony of other Walker attorneys on this issue. See Aug. 3, 2022 Hrg. Trans. at
                                           43
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91:16–95:1 (Borelli), 184:7–185:22 (Esseks); Vague, Doc. 80-9, Veroff Decl. at pp.

3–4; Vague, Doc. 80-11, Pelet del Toro Decl. at pp. 4–5; see also, e.g., Vague Doc.

98 at 9:13–17 (junior attorney testifying that Thompson “had decided fairly recently

issues related to transgender rights … and so there was some hope for a judge with

expertise”).

      Because inherent authority sanctions require “subjective bad-faith,” the Court

must inquire into Kathleen’s “subjective intent.” Purchasing Power, LLC v. Bluestem

Brands, Inc., 851 F.3d 1218, 1224 (11th Cir. 2017). As noted above, Judge Proctor

repeatedly praised Kathleen’s candor, and he also noted that Kathleen gave the Panel

“a good picture of what you’re thinking what your motivations were and what your

decisions were.” See Aug. 3, 2022 Hrg. Trans. at 42:12–15. Judge Proctor twice told

Kathleen that he appreciated the way that she approached her testimony. Id. at 79:25–

80:2, 89:22–23. The Report does not specifically identify any instance where

Kathleen was not truthful or forthcoming. On the contrary, she truthfully testified

that the Walker team had a preference for Judge Thompson, but a preference and

desire for a certain judge can—and did—coexist with a subjective belief that the

Walker team could make a reasonable claim of relatedness.

      Kathleen and the Walker team’s good faith is reflected in their decision-

making process. They researched relatedness, and they ultimately determined that

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the Middle District did not have a controlling standard. They believed that they had

a reasonable basis for the relatedness marking based on the overlapping legal and

factual issues, and they advocated for a reassignment based on that reasonable belief.

Researching an issue, filing a brief, and requesting a favorable ruling from a court is

the opposite of a “contrivance.” Even if the Court has a differing opinion of the law,

that difference of opinion alone is not enough to find bad faith.

      In sum, Kathleen believed that by marking Walker as related to Corbitt and,

at the court clerk’s direction filing the Motion to Reassign, the Walker team was

invoking a permissible exception to the default rule of random assignment. The

evidence simply does not support a clear and convincing finding of subjective bad

faith, and therefore the Court has no basis to sanction Kathleen under the Court’s

inherent authority.

      E.     The Other Standards in the Order to Show Cause Do Not Apply to
             the Relatedness Designation.

      None of the other standards of conduct identified by the Court apply to the

relatedness designation. Neither the Panel nor the Court have identified any willful

false statement by Kathleen, so 18 U.S.C. § 1621 and Rule of Professional Conduct

3.3 do not apply. Nor did Kathleen violate her sworn oath. Rules of Professional

Conduct 1.2, 1.3, and 1.4 do not apply because the relatedness marking does not

implicate any client communication issues or any neglect of a matter within
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Kathleen’s attorney-client relationship. Finally, Kathleen never took an oath of

admission, which is not even required of attorneys admitted pro hac vice, but

nevertheless, Kathleen did not violate any standard in the oath.

II.     Charges 2 and 3 (Conduct Unrelated to Kathleen)

        As described below, Kathleen was not involved in the conduct described in

Charges 2 and 3. Because Kathleen’s conduct must be viewed individually, and

because she cannot be sanctioned for someone else’s conduct, she should not be

sanctioned for any of the conduct in Charges 2 and 3.

        A.    Charge 2: “Walker counsel, including Ms. Hartnett to contact the
              chambers of Judge Thompson (who was never assigned to Walker)
              to directly and indirectly influence or manipulate assignments
              away from Chief Judge Marks to Judge Thompson.”10

        This charge refers to Carl Charles calling Judge Thompson’s chambers the

day after Walker was filed. Kathleen did not (1) participate in this call, (2) direct or

advise Carl Charles to make this call, or (3) provide any input on whether to make

the call or what to say. Hartnett Supp. Decl. at ¶ 4. Because subjective bad faith “is

personal to the offender,” Kathleen cannot be punished under the Court’s inherent

authority for another person’s conduct. JTR Enters., 697 F. App’x at 987 (“Bad faith

is personal to the offender. One person’s bad faith may not be attributed to another


10
   Kathleen will address the inherent authority standard in this Section. This charge does not
involve pleadings or other filings, so Rule 11 does not apply. Similarly, the other standards of
conduct do not apply.
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by operation of legal fictions or doctrines such as respondeat superior or vicarious

liability.”).11

          As Kathleen has explained, at most she was aware that Mr. Charles contacted

Judge Thompson’s chambers to alert his office that a motion for preliminary

injunction was being filed. Aug. 3, 2022 Hrg. Trans. at 26:4–27:5. As she testified,

“I was actually in deposition prep or something that day, but I was following the

email traffic.” Id. at 25:13–15; see Hartnett Supp. Decl. at ¶ 4. No testimony or other

evidence before the Court and Panel indicates that Kathleen had any involvement

beyond simple awareness that Charles planned to call Judge Thompson’s chambers,

and Kathleen confirms that in her supplemental declaration. See Ex. B, Hartnett

Supp. Decl. at ¶ 4.

          The Panel also asked about Kathleen’s involvement with the call:

                JUDGE PROCTOR: Were you on any conference calls when the
          idea of calling Judge Thompson’s chambers was discussed?

                 MS. HARTNETT: I was not on any call where that was
          discussed. It was an email exchange that was being had where I saw the
          whole thing unfold of, like, maybe we should call over there to let them
          know it’s coming so they’re ready for it, and then Tish [Gotell Faulks]
          saying, I’ve talked to Kaitlin [Welborn], and that makes sense, and then
          Carl [Charles] saying -- but Tish saying, I’m busy, and then Carl saying,
          I’ll do it.




11
     Kathleen is not suggesting that Charles’s phone call was sanctionable.
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              JUDGE PROCTOR: And I understand, so they’re not conference
       calls per se, but email traffic that you saw about this subject?
               MS. HARTNETT: Yes.

Aug. 3, 2022 Hrg. Trans. at 29:4–16. Kathleen’s testimony is consistent with other

Walker attorneys’ testimony. See Aug. 3, 2022 Hrg. Trans. at 192:10–194:10; Vague,

Doc. 80-9, Veroff Decl. at pp. 5–6; Vague, Doc. 80-11, Pelet del Toro Decl. at pp. 4–

5.

       To the extent this Charge also relates to a member of the Walker team talking

to someone at the Equal Justice Initiative who relayed some information from one

of Judge Thompson’s law clerks, Kathleen does not recall having any knowledge of

that communication at the time. See Vague, Doc. 70 at 20–21.12 The Panel asked her,

“Did you learn this as part of your role as counsel in the case, or did you learn this

subject matter that you’re about to be asked about only after our inquiry began as

part of our inquiry?” Aug. 3, 2022 Hrg. Trans. at 37:4–7. Kathleen responded, “I

believe only after the inquiry began. . . . I was walking from a deposition to the hotel

to be able to get my flight out of Texas when the call happened, so I was on a call

where I believe this topic was discussed.” Id. at 37:8–24. In other words, to the best

of her recollection, Kathleen had no knowledge of this contact before it occurred. To



12
  Kathleen does not read the Show Cause to cover this conduct, but out of an abundance of caution,
she addresses it here.
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the extent it was discussed by the Walker team after the contact was made, it was

during a call that Kathleen joined while in transit from a deposition, but she has no

specific recollection of hearing about the outreach.

       In sum, Kathleen neither made the call to Judge Thompson’s chambers nor

directed or advised Charles to make that call. She also did not, at the time, know

about the indirect outreach to a Judge Thompson clerk. Regardless, these contacts

were intended to alert the court to a time-sensitive filing and to understand Court

procedure, not to influence or manipulate the Court. See Doc. 517 at 7; Vague, Doc.

80-9, Veroff Decl. at 2–3. Viewed individually—as she must be—Kathleen cannot

be sanctioned for this Charge, as she did not engage in the charged conduct, let alone

in subjective bad faith.

       B.      Charge 3: “Walker counsel, including Ms. Hartnett, to attempt to
               persuade Ladinsky counsel to transfer the latter case to the Middle
               District to be before Judge Thompson.”13
       This charge is based on a call about the possibility of seeking a transfer of

Ladinsky to the Middle District and Judge Thompson that the Panel described as

follows: “Members of both teams—at least Esseks, Orr, Eagan, Nowlin-Sohl,

Charles, and Soto—participated in a conference call that started at 5:00 p.m. on April

13, 2022.” Vague, Doc. 70 at 23. Kathleen was not on the April 13 call that was the


13
   Kathleen will address the inherent authority standard. This Charge does not involve pleadings
or other filings, so Rule 11 does not apply. Similarly, the other standards of conduct do not apply.
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basis of this finding. In addition to so stating in her supplemental declaration, see

Ex. B, Hartnett Supp. Decl. at ¶¶ 5–6, none of the participants in the call testified

that she was on it. See Aug. 3, 2022 Hrg. Trans. at 213–214 (Esseks); Nov. 3, 2022

Hrg. Trans. at 30–31 (Orr); Aug. 4, 2022 Hrg. Trans. at 33:1–15 (Eagan).

         Just as with the call to Judge Thompson’s chambers, Kathleen cannot be

sanctioned under the Court’s inherent authority for the conduct of other attorneys.

Kathleen could not have acted in subjective bad faith when she did not engage in the

specified conduct at all.

III.     Dismissal-Related Conduct

         Charge 4: “All counsel, including Ms. Hartnett to coordinate the
         dismissal of the Walker and Ladinsky cases after their assignment to the
         Court, and then for lead counsel to make clear that the case would be
         refiled when commenting to the media about refiling.”

         Charge 5: “All counsel, including Ms. Hartnett, to engage in numerous
         and wide-ranging discussions about how judges were favorable or
         unfavorable in the context of deciding whether to dismiss and refile their
         cases.”

         Charge 6: “All counsel, including Ms. Hartnett to suddenly dismiss
         Walker and Ladinsky after a series of phone conferences in which counsel
         discussed a number of matters, including their prospects in front of the
         Court and that the Court was a bad draw”

         Charge 7: “All counsel, including Ms. Hartnett, to abruptly stop the
         pursuit of emergency relief and decide to dismiss, and for Ladinsky
         counsel to refile a case in the Middle District with brand new plaintiffs,
         even though time was of the essence and their stated goal was to move
         quickly to enjoin what they viewed as an unconstitutional law”

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       A.    Other Than Dismissing Walker, Kathleen Did Not Engage In Any
             Of The Other Conduct Described In Charges 4, 5, 6, and 7.
       Charges 4, 5, 6, and 7 all relate to the dismissals of Walker and Ladinsky.

However, none of these charges relate solely to dismissing under Rule 41 alone.

Rather, each of them is based on dismissal plus some other conduct (4: comments to

the media; 5: engaging in discussions about judges; 6: discussing prospects for

success with certain judges, including saying that Judge Burke was a bad draw; 7:

deciding to refile in the Middle District with new plaintiffs). Kathleen, however, did

not engage in any of the other conduct alleged in these Charges; she was involved in

dismissing Walker as permitted by Rule 41 and nothing more. In the following

subsection (Section III.B), Kathleen explains why dismissal of Walker, standing

alone, is not sanctionable. First, however, she explains why she cannot be sanctioned

for Charges 4, 5, 6, and 7, given that those charges are all based on dismissal plus

additional conduct of which she was not a part.14

       First, as to Charge 4, Kathleen did not make any comments to the media.

Ladinsky team members made the comments noted in the Report. See Vague, Doc.

70 at 44 (describing comments by the Ladinsky team). Kathleen cannot be

sanctioned for comments made by someone else in a different case, especially when



14
  Kathleen does not concede that any of this alleged conduct warrants sanctions for any
Respondent.
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Kathleen had no involvement or input in those media comments. Further, even

though the Walker and Ladinsky teams coordinated the timing of their dismissals,

both teams had an “an unconditional right to dismiss [their] complaint by notice and

without an order of the court at any time prior to the defendant’s service of an answer

or a motion for summary judgment.” Matthews v. Gaither, 902 F.2d 877, 880 (11th

Cir. 1990). Here, Kathleen testified that she coordinated the timing as a professional

courtesy to the Ladinksy team, but to be clear, she also testified that she

independently decided to dismiss.

      Second, as to Charges 5 and 6, Kathleen was not involved in any of the “wide-

ranging discussions” on April 15th described in the Final Report or discussions with

the Ladinsky team about the prospects in front of Judge Burke. As noted above, the

Report focused on a “5:00 p.m. conference call” on April 15th involving multiple

members of the Ladinsky and Walker teams and says that Kathleen was on the call.

Vague, Doc. 70 at 31. Kathleen was not on any such call, and, indeed, this section of

the Report appears to confuse several phone calls among different groups of lawyers.

Regardless, the call on which the Report focuses apparently involved discussions

about judicial preferences—namely, the purported comment about a “zero percent

chance” that Judge Burke would grant the requested relief. Kathleen was not on this

call, and to the extent the Report states that she was, the cited testimony says

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otherwise. See Aug. 4, 2022 Hrg. Trans. at 168–179; Vague Doc. 70 (citing same).

Kathleen’s supplemental declaration also further explains that she was not on any

such call. See Ex. B, Hartnett Supp. Decl. at ¶¶ 7–14.

      Consistent with Kathleen’s testimony, the testimony cited by the Report

regarding the “wide-ranging discussions” about judges does not place Kathleen on

those calls. See May 20, 2022 Hrg. Trans. at 125–26 (Nowlin-Sohl testifying but not

describing who was on the call); Aug. 3, 2022 Hrg. Trans. at 77 (Kathleen testifying

about a Walker-only call and a one-on-one call with Minter); Aug. 4, 2022 Hrg.

Trans. at at 77–79 (Eagan not describing who was on the call), 167–68 (Terry

testifying that she, Eagan, Vague, Shortnacy, Minter, and Levi were on the call),

239–40 (Doss saying “I don’t know” when asked if a Cooley lawyer was in

conversations about dismissal and then describing a Ladinsky team call); Vague Doc.

80-6, Minter Dec. at 42, ¶ 12 (Minter describing a “team call” and then reaching out

to an attorney from Walker after); Vague Doc. 80-6, Soto Dec. at 70, ¶ 36 (“On April

15, after Judge Axon transferred Ladinsky to Judge Burke, some members of the

Ladinsky team got on a call.”).

      In fact, Kathleen and Minter’s testimony show that Minter called Kathleen to

discuss next steps in light of the 5:00 p.m. Ladinsky call. See Vague Doc. 80-6,

Minter Dec. at 42, ¶ 12; Aug. 3, 2022 Hrg. Trans. at 76:23–80:23; Nov. 3, 2022 Hrg.

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Trans. at 154:3–7. Of course, Minter would have had no need to call Kathleen to

discuss dismissal if Kathleen was on the 5:00 PM Ladinsky call (which she was not).

To the best of Kathleen’s recollection, this call, or perhaps couple of calls, with

Minter were the only calls she had with any member of the Ladinsky team after

Ladinsky was reassigned to Judge Burke.

      Third, as to Charge 7, Kathleen was not involved in the decision to file Eknes-

Tucker in the Middle District with new plaintiffs. Charge 7 is premised on the

refiling, and Kathleen cannot be sanctioned for the Eknes-Tucker filing with which

she had no involvement. Further, Kathleen acknowledged the “tension” Between

pursuing emergency relief and dismissal. Aug. 3, 2022 Hrg. Trans. at 78:19,

explaining that in deciding to dismiss, Kathleen said: “we need to have the

conversation tomorrow morning. I think I’m the one that said, we need to have the

calls to the groups. If you-all want to talk, do it tomorrow morning. This needs to

move forward. I was worried about the idea of delay.” Id. at 78:19–23. Lawyers

frequently weigh countervailing factors and face difficult decisions. Kathleen

reasonably and in good faith believed and that voluntary dismissal was in her clients’

best interests, but she was also concerned about delay. That is why she insisted on a

prompt meeting to evaluate options for refiling.




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       B.        The Walker Team Had A Right To Dismiss Under Rule
                 41(a)(1)(A)(i) For Any Reason.
       Even were Kathleen charged with voluntary dismissal of Walker standing

alone, Kathleen’s decision to dismiss under Rule 41 is not sanctionable. Rule

41(a)(1)(A)(i) “plainly grants a plaintiff the right to dismiss—without a court

order—‘an action’ prior to a defendant serving ‘either an answer or a motion for

summary judgment.’” Absolute Activist Value Master Fund Limited v. Devine, 998

F.3d 1258, 1264 (11th Cir. 2021); accord Matthews v. Gaither, 902 F.2d 877, 880

(11th Cir. 1990) (“It is well established that Rule 41(a)(1)(i) [sic] grants a plaintiff

an unconditional right to dismiss his complaint by notice and without an order of the

court at any time prior to the defendant’s service of an answer or a motion for

summary judgment.”) (emphasis added); Watkins v. Angels Trucking Services, LLC,

2020 WL 7055496, at *3 (S.D. Ala. Dec. 2, 2020) (describing plaintiff’s dismissal

under Rule 41(a)(1)(A)(i) as “his absolute right”); Carrasquillo-Rodriguez v. United

States, No. 2:19-CV-526-WKW, 2019 WL 4281925, at *1 (M.D. Ala. Sept. 10, 2019)

(“his right”).

       Courts have found that plaintiffs may voluntarily dismiss under Rule 41 for

any reason. See Wolters Kluwer Financial Services, Inc. v. Scivantage, 564 F.3d 110,

115 (2d Cir. 2009) (finding that the plaintiff “was entitled to file a valid Rule

41 notice of voluntary dismissal for any reason, and the fact that it did so to flee the
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jurisdiction or the judge does not make the filing sanctionable.”); accord Ambrosia

Coal and Construction Co. v. Pages Morales, 2007 WL 9710667, at *2 (S.D. Fla.

Aug. 2, 2007) (“[T]he plaintiff’s motive for filing the notice is irrelevant.”). The

Fifth Circuit has held, “Court-ordered sanctions should be neither ‘a consequence’

of a voluntary dismissal without prejudice nor a ‘condition’ placed upon such

dismissal.” Bechuck v. Home Depot U.S.A., Inc., 814 F.3d 287, 292–93 (5th Cir.

2016) (quoting Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 396–97 (1990)).

“Although forum-shopping is not a trivial concern, ‘Rule 41(a)(1) essentially

permits forum shopping.’” Id. at 293 (quoting Harvey Specialty & Supply, Inc. v.

Anson Flowline Equipment Inc., 434 F.3d 320, 324 n.15 (5th Cir. 2005)).

      Thus, even if the assignment to Judge Burke was the sole reason for

Kathleen’s decision to dismiss Walker—which it was not—Rule 41 permits such a

dismissal. It provides an unconditional right to dismiss for any reason. Kathleen and

the Walker team exercised this right, and while their “motive for filing the notice is

irrelevant,” Kathleen testified extensively on her motives. Ambrosia Coal and

Construction, 2007 WL 9710667, at *2. Kathleen acknowledges that the assignment

of Judge Burke was a factor in the dismissal, but it was certainly not the factor or

even the principal factor. She had many other motivations—including the late Friday

notice of status conference on the Monday following Easter, the unexpected transfer

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of the Ladinsky case to Judge Burke (meaning that the Monday status conference

would in fact proceed and would involve both cases), the difficulty in having the

right attorneys at the status conference, the lack of confidence in the local counsel,

and the complexities of coordinating with Ladinsky counsel in the face of differing

strategies.

       In short, sanctions under the Court’s inherent authority require subjective bad

faith. Kathleen and the Walker team did not act in subjective bad faith because they

exercised an unconditional right that their clients could exercise for any reason. To

find that a voluntary dismissal was in bad faith would impose conditions and require

a justifiable reason. Further, even if voluntary dismissals are subject to Rule 11,

Kathleen cannot be sanctioned. Because a dismissal can be for any reason, it

necessarily cannot have an “improper purpose.” Fed. R. Civ. P. 11(b). The other

standards of conduct in the Show Cause do not apply.

       C.     Sanctioning a Rule 41 Dismissal Would Interpose an Untenable
              Conflict Between Attorneys and Their Clients.

       Although, as explained, the right to dismiss under Rule 41 is absolute, the

Court also should consider the duties that Kathleen and the Walker team owed to

their clients. Both Alabama Rule of Professional Conduct 2.1 and ABA Model Rule

2.1 require a lawyer to “exercise independent professional judgment and render

candid advice.” In the Walker team’s professional judgment, the best strategy for
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success as of late Friday afternoon on April 15 was to dismiss, regroup, and evaluate

their options. While the decision may certainly be second-guessed, it was made with

the clients’ best interests in mind and was expressly permitted under Rule 41. To

sanction Kathleen for making a time-sensitive decision to invoke a right afforded

under the rules of procedure would create a tension, if not a conflict, between the

personal interests of attorneys who do not want to be sanctioned and the interests of

their clients in a voluntary dismissal.

      Here, in Kathleen’s judgment, dismissal was the best option for her clients.

She stated in her declaration:

      When Ladinsky was transferred to Judge Burke, I realized the Monday
      status conference would take place and was concerned about Walker
      Counsel’s inability to have senior lawyers on the team admitted pro hac
      vice and otherwise able to travel from around the country to participate
      in what I thought could become a substantive discussion of the case.
      Additionally, over the past several days of active litigation, I grew to
      have serious questions about the capacity of our sole local counsel to
      handle this matter on her own. I also was concerned about Walker
      Counsel’s ability to adequately coordinate with Ladinsky Counsel
      regarding strategy in advance of the April 18 status conference
      (including because the teams had not been coordinating to date and had
      differences in strategy, as well as past challenges working together on
      litigation). Additionally, I had concerns about the sudden, unexpected,
      and unexplained assignment of both Walker and Ladinsky to Judge
      Burke, whom I did not know and had not personally researched, but
      about whom others had expressed significant concern. Additionally, I
      believed it was necessary to dismiss immediately because were the
      State to answer before we dismissed, we would lose our unilateral right
      to dismiss voluntarily under Federal Rule of Civil Procedure 41.

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Ex. A, Hartnett Decl. at pp. 29–30.

       Kathleen certainly understood the urgency of the relief sought in Walker, but

she ultimately decided, “[A]t the end of the day, it’s better to bring a properly baked

case, even if it’s a couple of days later, than a case that’s not going to go well earlier.”

Aug. 3, 2022 Hrg. Trans. at 78:24–79:1. She described the prospects of adequately

coordinating with the Ladinsky team as “the inevitable train wreck that was coming.”

Aug. 3, 2022 Hrg. Trans. at 53:21—22. She then said, “I think what really happened

in the end is that by having that ten a.m. status conference as the forcing mechanism

and seeing what was happening that day, this is not going to get – we’re not going

to get our acts together in time for Monday.” Aug. 3, 2022 Hrg. Trans. at 54: 2–6.

       In short, on the evening of Friday, April 15, Kathleen saw the prospects for

coordinating with Ladinsky as an “inevitable train wreck.” She did not have faith in

Walker’s only counsel located in Alabama. She did not know whether the senior

members of her team could even appear in Alabama, much less be admitted pro hac

vice. She felt that she did not have “a properly baked case.” She did not think that

her team and the Ladinsky team were “going to get our acts together in time for

Monday.” In a very short period of time on a holiday weekend, Kathleen considered

these factors and felt that dismissal was in the best interests of her clients.




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        Rule 41 indisputably permits voluntary dismissals, and on that Friday

afternoon, Kathleen exercised her independent judgment, weighed her clients’

interests, and felt that a Rule 41 dismissal was the best option. As the Eleventh

Circuit has said, Rule 41 “grants a plaintiff an unconditional right to dismiss.”

Matthews, 902 F.2d at 880. The undersigned counsel are aware of no case in which

an attorney has been disciplined for a single dismissal pursuant to Rule 41. In fact,

in Wolters Kluwer, which the Report cited, the Second Circuit reversed a sanction

imposed for voluntary dismissing, and it said that the plaintiff had an “unfettered

right” to dismiss and that it could do so “for any reason, and the fact that it did so to

flee the jurisdiction or the judge does not make the filing sanctionable.” 564 F.3d at

115. If this Court finds that a dismissal is sanctionable, then it would interpose a

conflict between what Kathleen believed was in the best interests of her clients and

her own interest in not being sanctioned.

IV.     Paragraph III(b) of the Supplemental Order to Show Cause

        A.    Kathleen did not Misrepresent Her Concern About the
              Reassignment of Ladinsky to This Court, and She Truthfully
              Testified About Her Reasons for Dismissal.
        Paragraph III(b) of the Show Cause discusses the Walker and Ladinsky

attorneys’ testimony about their reasons for dismissing. The Report and the Show

Cause suggest that Kathleen claimed “that the dismissal was because Judge Axon


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did not explain the reassignment of Ladinsky and [the Court] set Walker for a status

conference in Huntsville on April 18.” Doc. 479. Kathleen testified truthfully and

extensively about the reasons she decided to dismiss Walker. As she acknowledged

in her declaration, “I had concerns about the sudden, unexpected, and unexplained

assignment of both Walker and Ladinsky to Judge Burke, whom I did not know and

had not personally researched, but about whom others had expressed significant

concern.” Ex. A, Hartnett Decl. at p. 30.

      However, as reflected by her testimony and as set forth above, Kathleen’s

reasons for dismissing were multi-faceted. Among other things, Kathleen had

serious concerns about the Walker team’s ability to properly handle the Monday

morning status conference, given that its most experienced lawyers were unlikely to

be able to be present on short notice after the religious holiday weekend. The

consolidation with Ladinsky coupled with the tension between the groups and their

strategies exacerbated her concerns. Kathleen and the Walker team had to make a

quick decision because they would lose that right if the State answered the

complaint. Thus, in Kathleen’s mind, the dismissal was an opportunity to reset the

case and get it in the right posture with the right preparation: “But when I think about

my ethical obligation, I knew that we still had the right to bring the case back. And




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I felt like we weren’t in a position to do it right on Monday, but we could maybe be

in a position to do it right later.” Aug. 3, 2022 Hrg. Trans. at 74:19–22.

      Ultimately, this Charge is about credibility. Kathleen stands behind her

testimony, which was truthful then and is truthful now. In real time, Judge Proctor

thanked Kathleen for her approach to her testimony. He praised her candor. He even

said that Kathleen provided “a good picture of what you’re thinking what your

motivations were and what your decisions were.” See Aug. 3, 2022 Hrg. Trans. at

42:12–15.

      The Final Report does not find that Kathleen testified untruthfully or that she

was not fully transparent. Instead, the Final Report casts doubts about the

Respondents’ collective motivations, which directly conflicts with the repeated

praise Judge Proctor expressed towards Kathleen during her live testimony. Judge

Proctor’s comments to Kathleen (“[o]ne of the things I was impressed with with your

declaration is its clarity, its organization, and its candor;” “I think you’ve given me

a good picture of what you’re thinking and what your motivations were and what

your decisions were;” “I really appreciate the way you’re tackling this, and I just

want to affirm that as we’re going along;” and “I thank you for the way you’ve

approached this.”) seem to clearly indicate that Kathleen’s testimony was not the

basis for the credibility concerns expressed in finding 10 of the Report.

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      In addition to Kathleen’s specific circumstances, the credibility assessments

made in the Report are not based on clear and convincing evidence. The Walker

Respondents were consistent in their testimony about the different considerations for

dismissing, even if some Respondents personally placed different emphasis on the

various factors. No Respondent testified that Kathleen’s stated reasons for

dismissing were pretextual or false. Nor does any other evidence suggest that.

      The inferences drawn by the Panel from the testimony of the Respondents—

besides being improperly “collective,” Vague Doc. 70 at 51—simply do not suffice

to meet the high evidentiary standard required to justify a sanction against Kathleen.

Inherent authority sanctions require clear and convincing evidence or, at the very

least, specific findings. There is no evidence—no conflicting testimony or

documentation—to support a finding that Kathleen failed to testify truthfully. Both

the perjury statute and Rule of Professional Conduct 3.3 require heightened mens

rea (willfulness and knowledge). None of the evidence indicates that Kathleen

willfully misrepresented any of her testimony. Simply put, Kathleen told the truth,

and to find otherwise would require the Court to discredit the testimony of every

other attorney who testified on this topic and to make unsupported inferences.




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      B.     Kathleen Did Not Make Any Misrepresentations to the Panel, and
             She Did Not Fail to Disclose any Material Facts.
      Paragraph III(b) of the Show Cause also requires Kathleen to “show cause

why she should not be sanctioned for misrepresenting or otherwise failing to disclose

key facts during the panel’s inquiry.” Doc. 479 at 13. Due process requires that the

Court provide fair notice to Kathleen of what conduct may give rise to sanctions.

Neither Paragraph III(b) nor the Report provide reasonable notice of a purported

misrepresentation or nondisclosure by Kathleen. Instead, Paragraph III(b) required

Kathleen to “address any findings in Section IV of the Panel’s Report implicating

her credibility or any discrepancies between her own oral and written testimony and

the oral and written testimony of all other attorneys who testified.” Id. at 14.

Respectfully, Kathleen is left to guess at what the Court may consider to be “matters

impacting her credibility” or “discrepancies” between her testimony and that of other

Respondents. This directive does not satisfy due process. Regardless, Kathleen is

not aware of any statement she made that could be viewed as false or a material

nondisclosure. Likewise, she knows of no material discrepancies between her

testimony and the testimony of other Respondents.

      At the Court’s March 19, 2024 hearing, the Court indicated that “a junior

associate telling me material facts that everybody else left out of their testimony”

was a primary concern underlying this aspect of the Show Cause. March 19, 2024
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Hrg. Trans. at 56:23–24. The Court’s statement is presumably a reference to the

“zero percent chance” comment described by Abigail Terry as having occurred on

an April 15th phone call.15 But as noted above, Kathleen was not on the call where

this comment was purportedly made. Thus, Kathleen has no knowledge of whether

this comment was made and could not have omitted or misrepresented anything in

her testimony about this call and comment.

       Absent further guidance, undersigned counsel has scoured the Report and the

record, and have determined that there are only three findings or statements that

could possibly relate to a misrepresentation or nondisclosure by Kathleen, and none

of those actually implicate Kathleen in any wrongdoing.

       First, finding 10 in the Report broadly states that every Respondent engaged

in misconduct by stating that they had reasons for dismissing other than the

assignment of Judge Burke to Walker and Ladinsky. As discussed above, Kathleen

truthfully described her reasons for dismissal, and Judge Proctor praised her candor.

       Second, the Panel made the following broad statement in the Report:

       To be clear, however, Walker counsel’s candor on the whole is
       concerning. For example, Esseks’s testimony that, “based on [his]
       understanding of what related means,” he would have marked Corbitt
       as related to Walker, even if that case had been assigned to a judge that
       had previously ruled against them, strains credulity, particularly

15
  Ms. Terry did not testify that Kathleen was on this call. Aug. 4, 2022 Hrg. Trans. at 167:22–
168:20.
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      considering the extent of counsel’s efforts to steer Walker to Judge
      Thompson.

Vague, Doc. 70 at 18 n.3. Though this footnote references “Walker counsel” as a

group, it does not identify any statement made by Kathleen, much less any

misrepresentation or nondisclosure by Kathleen. Kathleen should not—indeed,

cannot—be sanctioned for her co-counsel’s response to a hypothetical question.

      Third, in reviewing the declarations and testimony, Kathleen noted that

Jennnifer Levi said that she had a call with Kathleen on late Friday about dismissing

the two cases. Aug. 4, 2022 Hrg. Trans. at 30:14–31:11. Kathleen does not recall

talking to Levi. Rather, she only recalls talking to Minter. Minter’s testimony appears

to support Kathleen’s recollection. He said, “I called one of the attorneys on the

Walker team to see if they were -- what they were thinking.” Nov. 3, 2022 Hrg.

Trans. at 154:3–5. In his declaration, he said, “I had some individual

communications with one of the Walker attorneys to flag the need for a call between

the two teams over the weekend if possible, given the short time before the law

would take effect.” Vague, Doc. 80-6, Minter Decl. at ¶ 12.

      Regardless, Levi’s testimony about the substance of the conversations she

remembers is consistent with Kathleen’s intentions at the time and her discussions

with Minter. Levi says that they discussed dismissal and that Kathleen said any

refiling discussion would have to involve more members of her team but that they
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would move quickly to discuss joining forces. Kathleen’s testimony on her thought

process and conversation with Minter are similar. Compare Aug. 4, 2022 Hrg. Trans.

at 30:14–31:11 and Aug. 3, 2022 Hrg. Trans. at 78: 18–79:7; 88:1–12 and Hartnett

Decl. at p. 21. Thus, this difference in testimony is nothing more than differing

memories. There is no material factual difference between what Levi said and

Kathleen’s thought process. As the Court has noted, it is only concerned with

material discrepancies. March 19, 2024 Hrg. Trans. at 53:15–21. This difference in

memory is therefore not sanctionable.

       In sum, Kathleen did not violate her sworn oath, Rule of Professional Conduct

3.3., or any other applicable standard of conduct because she did not make any

material misrepresentation or fail to disclose material facts—much less do so

intentionally or knowingly. The other standards of conduct are inapplicable.

V.     Kathleen Acted With Implied Authorization to Dismiss Walker Without
       Prejudice.16

       Section III(c) of the Show Cause appears to be based on the premise that a

voluntary dismissal without prejudice requires client consent. It does not. As the

Eighth Circuit has held: “The general rule is that an attorney has no implied authority



16
  Kathleen maintains an objection that her clients in the Walker case did not waive their privilege
with members of the Walker team, and the Panel invaded that privilege when it forced members of
the Walker team to discuss their privileged conversations about the dismissal. She likewise objects,
as she noted in Doc. 508, to this charge being added so late in the process.
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to settle or compromise or dismiss his client's cause of action with prejudice. . .

. [She] does have, where employed to prosecute litigation, implied power to take all

action with reference to procedural matters, including the power to dismiss without

prejudice.” Engelhardt v. Bell & Howell Co., 299 F.2d 480, 483 (8th Cir. 1962). After

the Walker team acted with its implied authorization and voluntarily dismissed, it

consulted with the Walker plaintiffs the same day.

      A.     Kathleen and the Walker Team Were not Required Under Rule 1.2
             to Obtain Prior Consent From Their Clients to Dismiss Without
             Prejudice.

      Alabama and ABA Rule of Professional Conduct 1.2(a) state that “A lawyer

shall abide by a client's decisions concerning the objectives of representation . . . and

shall consult with the client as to the means by which they are to be pursued.” ABA

Rule 1.2(a) adds, “A lawyer may take such action on behalf of the client as is

impliedly authorized to carry out the representation.” The Comment to Rule 1.2

states, “In questions of means, the lawyer should assume responsibility for technical

and legal tactical issues, but should defer to the client regarding such questions as

the expense to be incurred and concern for third persons who might be adversely

affected.”

      In short, Rule 1.2 distinguishes between the objectives of representation and

the means of representation. In general, the client determines the objectives, and the


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attorney is responsible for the means. In this case, the objective was quite clear:

challenge the constitutionality of the recently-passed S.B. 184. As of late Friday,

April 15, 2022, Kathleen and the Walker team had to determine the means of best

accomplishing this objective.

         A dismissal without prejudice is a matter of means, rather than objective,

because it does not compromise the rights of the client. “Where an action is

dismissed without prejudice, the plaintiff may refile before the expiration of the

applicable statute of limitations.” Alexander v. Bradshaw, 599 F. App’x 945, 946

(11th Cir. 2015). Courts around the country have distinguished between dismissals

with prejudice and those without prejudice because of the right to refile, and as a

result, these courts have found that attorneys have the implied authority to dismiss

without prejudice as a means to achieve the objective of representation.

         As noted, the Eight Circuit has said: “The general rule is that an attorney has

no implied authority to settle or compromise or dismiss his client's cause of action

with prejudice. . . . [She] does have, where employed to prosecute litigation, implied

power to take all action with reference to procedural matters, including the power to

dismiss without prejudice.” Engelhardt, 299 F.2d 480 (8th Cir. 1962). Other courts

agree:

   • Federated Towing & Recovery, LLC v. Praetorian Ins. Co., 283 F.R.D. 644,
     662–63 (D.N.M. 2012): “An attorney would have implied authority to agree
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   to a dismissal of a case without prejudice, because doing so does not
   compromise or settle the client's rights, and the client is not precluded from
   litigating the merits of the case.”

• Slovitz v. City of New York, 157 N.Y.S.2d 532, 533 (Sup. Ct. 1956): “It is
  familiar law that an attorney’s authority to discontinue an action is presumed
  and binding upon his client, especially where there is no settlement or release
  involved.”

• Virginia Concrete Co. v. Bd. of Sup'rs of Fairfax Cnty., 197 Va. 821, 827, 91
  S.E.2d 415, 420 (1956): “Under his general authority an attorney has control
  of the remedy and may discontinue the action by a dismissal without
  prejudice, thus binding his client.”

• Duhe v. Jones, 186 So. 2d 419, 424 (La. Ct. App. 1966): “[A]n attorney of
  record has implied authority to dismiss a suit ‘without prejudice’.”

• Snyder-Falkinham v. Stockburger, 249 Va. 376, 382, 457 S.E.2d 36, 39
  (1995): “An attorney’s general authority permits the attorney to discontinue a
  pending action by a dismissal without prejudice; but this general authority
  gives the attorney no right to discharge or terminate a cause of action by a
  dismissal on the merits, such as by a dismissal with prejudice, without special
  authority or acquiescence on the part of the client.”

• Cory v. Howard, 164 N.E. 639, 639 (1929): “As the dismissal of a suit does
  not bar the bringing of another for the same cause of action, the attorney of
  record has the implied authority to discontinue the action if he sees fit.”

• Sewraz v. Nguyen, No. 3:08CV90, 2011 WL 201487, at *6 (E.D. Va. Jan. 20,
  2011): “An attorney has the general implied authority to nonsuit a case so long
  as it does not prevent bringing another suit on the same merits.”

• City of San Benito v. Rio Grande Valley Gas Co., 109 S.W.3d 750, 758 (Tex.
  2003): “Texas courts have held that an attorney has implied authority to
  nonsuit a client's claim when the nonsuit does not affect a substantial right or
  bar the bringing of another suit based on the same cause of action.”

• Bice v. Stevens, 325 P.2d 244, 251 (1958): “It is clearly within the attorney’s
  authority to dismiss the client's action without prejudice.”
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      Treatises also agree on this point:

   • Corpus Juris Secundum: “[I]t is generally held that an attorney has implied
     authority to enter or take a dismissal, discontinuance, or nonsuit which does
     not bar the bringing of another suit on the same cause of action.” 7A C.J.S.
     Attorney & Client § 295.

   • Federal Procedure, Lawyers Edition: “An attorney who is employed to
     prosecute litigation has the implied power to take all action with reference to
     procedural matters, including stipulating to a dismissal without prejudice.”
     27A Fed. Proc., L. Ed. § 62:502.

   • American Law Reports: “The rule prevailing in most jurisdictions is that an
     attorney employed to prosecute an action has implied authority, by virtue of
     such employment, to have the action discontinued or dismissed where such
     discontinuance or dismissal will not operate as a bar to the institution of a new
     action on the same cause, or, as expressed in some cases, where the dismissal
     or other termination is ‘without prejudice.’” 56 A.L.R.2d 1290 (Originally
     published in 1957).

   • Restatement (Third) of the Law Governing Lawyers: “A lawyer, for
     example, may decide whether to move to dismiss a complaint.” Restatement
     (Third) of the Law Governing Lawyers § 21 (2000).

      Consistent with this substantial case law, Kathleen testified that the Walker

team had the authority to voluntarily dismiss without prejudice:

      We did have the ability to do that. I mean, our client -- we had -- our
      client gave us the -- we have authority to generally make litigation
      decisions in their best interest, and particularly because here we
      weren’t, like, settling their claim or something. We were just voluntary
      dismissing it. I think we felt like we had the authority as the counsel
      group to do that.

Aug. 3, 2022 Hrg. Trans. at 76:9–15.


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       In short, Kathleen and the Walker team had the implied authority—as

contemplated by ABA Rule 1.2—to dismiss the case without prejudice. The

dismissal was consistent with the Walker plaintiffs’ objectives in the representation:

to challenge the constitutionality of S.B. 184. In Kathleen’s mind, the Walker case

was not optimally positioned to succeed. For the reasons discussed elsewhere in this

brief, Kathleen believed, “[A]t the end of the day, it’s better to bring a properly baked

case, even if it’s a couple of days later, than a case that’s not going to go well earlier.”

Aug. 3, 2022 Hrg. Trans. at 78:24–79:1. She believed, in good faith, that a dismissal

gave both the Walker and Ladinsky teams time to regroup and determine the best

way to achieve the shared objective of challenging S.B. 184, and she acted with her

implied authority to pursue that objective.

       B.     Kathleen and the Walker Team Did Not Neglect any Matter
              Entrusted to Them by Their Clients in Violation of Rule 1.3.
       Alabama Rule 1.3 provides, “A lawyer shall not willfully neglect a legal

matter entrusted to him.” ABA Rule 1.3 similarly states, “A lawyer shall act with

reasonable diligence and promptness in representing a client.” Kathleen and the

Walker team did not neglect any matter entrusted to them by their clients.

       First, Kathleen and the Walker team filed a lengthy and well-drafted complaint

within just three days of Governor Ivey signing S.B. 184, and they filed a motion for

a temporary restraining order and/or preliminary injunction one day later. The record
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here is thus chock full of evidence that Kathleen and the other Walker counsel were

vigorously pressing their clients’ claims both before and during the pendency of the

case.

        Second, on Friday, April 15, 2022, the Walker team dismissed their case,

believing it to be the best available option given their procedural circumstances. In

doing so, Kathleen and the Walker team were cognizant not to “delay” given the

urgency and therefore moved quickly to make a decision as to next steps. Aug. 3,

2022 Hrg. Trans. at 78:18–23.

        Third, other Walker counsel who had relationships with the clients informed

the clients of the dismissal and the expectation that another case would be filed

within a reasonable timeframe after the dismissal.

        Fourth, when Kathleen and the Walker team dismissed, they were committed

to ensuring that someone challenged S.B. 184. Kathleen agreed with Judge Proctor’s

statement that, “This wasn’t a decamp, walk away” situation. Aug. 3, 2022 Hrg.

Trans. at 77:25–78:2; see id. at 78:7–7 (“[W]e were committed to having someone

do this challenge in the state.”).

        Fifth, the Ladinsky group ultimately refiled—as discussed between the two

groups—and got S.B. 184 enjoined, even if temporarily. Thus, the objective of the

representation was achieved in the district court.

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      C.    The Walker Team Kept Their Clients Reasonably Informed About
            the Status of the Case in Compliance With Rule 1.4.
      Alabama Rule 1.4 provides:

      (a) A lawyer shall keep a client reasonably informed about the status of
      a matter and promptly comply with reasonable requests for information.
      (b) A lawyer shall explain a matter to the extent reasonably necessary
      to permit the client to make informed decisions regarding the
      representation.

      ABA Rule 1.4 provides:

      (a) A lawyer shall:
             (1) promptly inform the client of any decision or circumstance
             with respect to which the client's informed consent, as defined in
             Rule 1.0(e), is required by these Rules;
             (2) reasonably consult with the client about the means by which
             the client's objectives are to be accomplished;
             (3) keep the client reasonably informed about the status of the
             matter;
             (4) promptly comply with reasonable requests for information;
             and
             (5) consult with the client about any relevant limitation on the
             lawyer's conduct when the lawyer knows that the client expects
             assistance not permitted by the Rules of Professional Conduct or
             other law.
      (b) A lawyer shall explain a matter to the extent reasonably necessary
      to permit the client to make informed decisions regarding the
      representation.

      The obligation in Rule 1.4 is driven by the context of the situation. The

comments to Alabama Rule 1.4 state, “Adequacy of communication depends in part

on the kind of advice or assistance involved.” The comments to ABA Rule 1.4

expressly contemplate that an attorney may need to act immediately without prior
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consultation with a client: “In other circumstances, such as during a trial when an

immediate decision must be made, the exigency of the situation may require the

lawyer to act without prior consultation.” The Comments to Alabama Rule 1.4

similarly state, “Practical exigency may also require a lawyer to act for a client

without prior consultation.”

      That is exactly what happened here. Kathleen and the Walker team faced what

they believed were exigent circumstances, and they had to make a decision quickly.

At any point, the State could have answered the complaint and removed the right of

voluntary dismissal. Given these circumstances, prior consultation was not

feasible—particularly when, as the cases cited above note, an attorney has the

implied authority to dismiss without prejudice.

      Further, Kathleen and Cooley’s primary role on the Walker team was to lead

the litigation effort: conducting legal research, assessing potential claims, and

preparing pleadings. She was not responsible for the day-to-day communication with

the clients. That was the role of other members of the Walker team, but those other

members talked with the clients throughout the week that Walker was pending and




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shortly after the dismissal.17 The Walker team as a whole communicated with their

clients on an ongoing basis and kept them informed.

       D.     Rule 11 Does not Apply to This Charge.
       Kathleen did not violate Rule 11 by filing a voluntary dismissal without the

prior consent of her client. First, Rule 11 imposes duties to the court system and

other litigants. See Mars Steel Corp. v. Continental Bank N.A., 880 F.2d 928, 932

(7th Cir. 1989). Rule 11 is not meant to discipline attorneys for breaching duties to

their clients. Mark Indus., Ltd. v. Sea Captain's Choice, Inc., 50 F.3d 730, 732 (9th

Cir. 1995) (agreeing with the proposition “that the purpose of Rule 11 is to deter

abuses of the litigation process which have the potential of harming the interests of

the opponent, not to discipline attorneys for breaches of duty to their own clients.”).

Second, ample case law provides that Kathleen had the implied authority to

voluntarily dismiss the Walker case without prejudice, so she had—at absolute

minimum—a reasonable basis for the dismissal. Third, Kathleen’s purpose in

dismissing was to regroup and determine the best approach for challenging S.B. 184,

her clients’ ultimate objective—which is not improper.




17
  Kathleen defers to the facts in James Esseks, Carl Charles, and LaTisha Faulks’s supplemental
declarations and brief on this point.
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                                  CONCLUSION

      Kathleen accepts responsibility for her actions and stands ready to express to

the Court that she deeply regrets that her actions created an appearance of

impropriety and judge shopping. However, she at all times acted in good faith and

within the bounds of existing rules and standards, and she did not intend to, nor did

she, engage in any sanctionable conduct.

   Dated: May 13, 2024

                                            /s/ Brannon J, Buck
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                          CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing has been served
on all parties of record via the CM/ECF electronic filing system, electronic mail,
and/or U.S. Mail on this the 13th day of May, 2024.



                                           /s/ Brannon J. Buck
                                           OF COUNSEL
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